Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 1 of 72 PageID #: 1639




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION



    STATON TECHIYA, LLC AND SYNERGY
    IP CORPORATION,

                Plaintiffs,

                v.                            Civil Action No. 2:21-cv-00413-JRG

    SAMSUNG ELECTRONICS CO., LTD. and
    SAMSUNG ELECTRONICS AMERICA,
    INC.

                Defendants.


                     SAMSUNG’S ANSWER AND COUNTERCLAIMS
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 2 of 72 PageID #: 1640




            Defendants Samsung Electronics Co., Ltd. (“SEC”) and Samsung Electronics America,
   Inc. (“SEA”) (collectively, “Samsung”) file this Answer to the claims for patent infringement
   filed by Staton Techiya, LLC (“Techiya”) and Synergy IP Corporation (“Synergy”)
   (collectively, “Plaintiffs”), as well as Counterclaims in response.         Samsung denies all
   allegations in Plaintiffs’ claims unless expressly admitted. Any admissions herein are for
   purposes of this matter only. Samsung also reserves the right to take further positions and raise
   additional defenses and counterclaims that may become apparent as a result of additional
   information discovered subsequent to filing this Answer.
                  AMENDED COMPLAINT FOR PATENT INFRINGEMENT
            1.     Samsung admits that Plaintiffs purport to assert claims of patent infringement

   against Samsung. Samsung denies any remaining allegations in Paragraph 1 of the Amended

   Complaint.

                                           THE PARTIES
            2.     Samsung lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 2 of the Amended Complaint, and on that basis, Samsung

   denies them.

            3.     Samsung lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 3 of the Amended Complaint, and on that basis, Samsung

   denies them.

            4.     Samsung admits that SEC is based in South Korea, and has a principal place of

   business at 129, Samsung-Ro, Yeongtong-Gu, Suwon-si, Gyeonggi-do, 16677, Republic of

   Korea.

            5.     Samsung admits the allegations in Paragraph 5 of the Amended Complaint.

            6.     Samsung admits the allegations in Paragraph 6 of the Amended Complaint.

                                   THE ASSERTED PATENTS
            7.     Samsung admits that, on its face, the ’839 Patent indicates that is titled “Always

   On Headwear Recording System,” was issued on February 7, 2012, and lists Steven Wayne


                                                   1
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 3 of 72 PageID #: 1641




   Goldstein and John Usher as inventors. Samsung also admits that the ’839 Patent lists an

   application number of 12/100,281, filed on April 9, 2008, and that the application was

   published as U.S. 2008/0253583 A1 on October 16, 2008. Samsung also admits that Exhibit

   A to the Complaint purports to be a copy of the ’839 Patent.

          8.      Samsung admits that, on its face, the ’591 Patent indicates that is titled “Method

   and Device for Audio Recording,” was issued on August 28, 2012, and lists Steven Wayne

   Goldstein, John Usher, and Marc Andre Boillot as inventors. Samsung also admits that the

   ’591 Patent lists an application number of 12/024,842, filed on February 1, 2008, and that the

   application was published as U.S. 2008/0187163 A1 on August 7, 2008. Samsung also admits

   that Exhibit B to the Complaint purports to be a copy of the ’591 Patent.

          9.      Samsung admits that, on its face, the ’400 Patent indicates that is titled “Method

   and Device for Acoustic Management Control of Multiple Microphones,” was issued on

   November 20, 2012, and lists Steven Wayne Goldstein, John Usher, Marc Andre Boillot, and

   Jason McIntosh as inventors. Samsung also admits that the ’400 Patent lists an application

   number of 12/135,816, filed on June 9, 2008, and that the application was published as U.S.

   2009/0016542 A1 on January 15, 2009. Samsung also admits that Exhibit C to the Complaint

   purports to be a copy of the ’400 Patent.

          10.     Samsung admits that, on its face, the ’982 Patent indicates that is titled “Always

   on Headwear Recording System,” was issued on September 1, 2015, and lists Steven Wayne

   Goldstein and John Usher as inventors. Samsung also admits that the ’982 Patent lists an

   application number of 14/021,011, filed on September 9, 2013, and that the application was

   published as U.S. 2014/0012403 A1 on January 9, 2014. Samsung also admits that Exhibit D

   to the Complaint purports to be a copy of the ’982 Patent.

          11.     Samsung admits that, on its face, the ’244 Patent indicates that is titled “System

   and Method to Detect Close Voice Sources and Automatically Enhance Situation Awareness,”



                                                  2
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 4 of 72 PageID #: 1642




   was issued on February 23, 2016, and lists Steven Wayne Goldstein and John Usher as

   inventors. Samsung also admits that the ’244 Patent lists an application number of 14/210,430,

   filed on March 13, 2014, and that the application was published as U.S. 2014/0270200 A1 on

   September 18, 2014. Samsung also admits that Exhibit E to the Complaint purports to be a

   copy of the ’244 Patent.

          12.     Samsung admits that, on its face, the ’542 Patent indicates that is titled

   “Automatic Sound Pass-Through Method and System for Earphones,” was issued on

   November 8, 2016, and lists John Usher as the inventor. Samsung also admits that the ’542

   Patent lists an application number of 14/600,349, filed on July 30, 2013, and that the application

   was published as U.S. 2015/0215701 A1 on July 30, 2015. Samsung also admits that Exhibit

   F to the Complaint purports to be a copy of the ’542 Patent.

          13.     Samsung admits that, on its face, the ’424 Patent indicates that is titled “Method

   and Device for Personalized Hearing,” was issued on March 28, 2017, and lists Steven Wayne

   Goldstein as the inventor. Samsung also admits that the ’424 Patent lists an application number

   of 15/144,741, filed on May 2, 2016, and that the application was published as U.S.

   2016/0249128 A1 on August 25, 2016. Samsung also admits that Exhibit G to the Complaint

   purports to be a copy of the ’424 Patent.

          14.     Samsung admits that, on its face, the ’082 Patent indicates that is titled

   “Automatic Keyword Pass-Through System,” was issued on September 3, 2019, and lists John

   Usher as the inventor. Samsung also admits that the ’082 Patent lists an application number of

   16/168,752, filed on October 23, 2018, and that the application was published as U.S.

   2019/0124436 A1 on April 25, 2019. Samsung also admits that Exhibit H to the Complaint

   purports to be a copy of the ’082 Patent.

          15.     Samsung admits that, on its face, the ’015 Patent indicates that is titled

   “Automatic Keyword Pass-Through System,” was issued on March 30, 2021, and lists John



                                                   3
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 5 of 72 PageID #: 1643




   Usher as the inventor. Samsung also admits that the ’015 Patent lists an application number of

   16/555,824, filed on August 29, 2019. Samsung also admits that Exhibit I to the Complaint

   purports to be a copy of the ’082 Patent. Samsung denies that the ’015 Patent was previously

   published on December 18, 2019.

          16.     Samsung admits that, on its face, the ’836 Patent indicates that is titled

   “Acoustic Sealing Analysis System,” was issued on April 13, 2021, and lists John Usher and

   John P. Keady as inventors. Samsung also admits that the ’836 Patent lists an application

   number of 16/838,277, filed on April 2, 2020, and that the application was published as U.S.

   2020/0275223 A1 on August 27, 2020. Samsung also admits that Exhibit J to the Complaint

   purports to be a copy of the ’836 Patent.

          17.     Samsung denies the allegations in Paragraph 17 of the Amended Complaint.

          18.     Samsung denies the allegations in Paragraph 18 of the Amended Complaint.

          19.     Samsung lacks knowledge or information sufficient to form a belief as to the

   truth of the allegations in Paragraph 19 of the Amended Complaint, and on that basis, Samsung

   denies them.

                                  JURISDICTION AND VENUE
          20.     Samsung admits that the Complaint purports to assert claims of patent

   infringement arising under the Patent Act, 35 U.S.C. § 1 et seq, but denies that it has committed

   any acts of infringement as alleged by Plaintiffs. Samsung denies any remaining allegations in

   Paragraph 20 of the Amended Complaint.

          21.     Samsung admits the allegations in Paragraph 21 of the Amended Complaint.

          22.     For the purposes of this action only, Samsung does not contest that venue is

   proper in this District. Samsung admits that SEA has a place of business, employs personnel,

   is registered to do business in, and conducts business in this District. Samsung admits that

   SEA has a Texas Taxpayer Number of 11329511536. Samsung denies that it has committed




                                                  4
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 6 of 72 PageID #: 1644




   any acts of infringement as alleged by Plaintiffs. Samsung denies any remaining allegations in

   Paragraph 22 of the Amended Complaint.

           23.     For purposes of this action only, Samsung admits that this Court has personal

   jurisdiction over Samsung. Samsung also admits that SEA conducts business within this

   District. Samsung denies that it has committed any acts of infringement as alleged by Plaintiffs.

   Samsung denies any remaining allegations in Paragraph 23 of the Amended Complaint.

           24.     Samsung admits that SEA sells consumer electronics products in this District.

   Samsung denies that it has committed any acts of infringement as alleged by Plaintiffs.

   Samsung denies any remaining allegations in Paragraph 24 of the Amended Complaint.

           25.     Samsung admits that SEA sells or has sold consumer electronics products,

   including the Samsung Galaxy S20 and Samsung Galaxy Buds+, in the United States, including

   in this District. Samsung admits that certain of the smartphone products SEA has sold include

   the Bixby Personal Assistant application. Samsung denies that it has committed any acts of

   infringement as alleged by Plaintiffs. Samsung denies any remaining allegations in Paragraph

   25 of the Amended Complaint.

                                             JOINDER
           26.     To the extent that the allegations of paragraph 26 of the Amended Complaint

   state a legal conclusion, no response is required. To the extent any response is required,

   Samsung denies the allegations contained in Paragraph 26 of the Amended Complaint.

                         ALLEGATIONS OF PATENT INFRINGEMENT
           27.     Paragraph 27 of the Amended Complaint does not require an answer. To the

   extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

   26 as if fully set forth herein.

           28.     Samsung denies the allegations contained in Paragraph 28 of the Amended

   Complaint.




                                                  5
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 7 of 72 PageID #: 1645




          29.    Samsung denies the allegations contained in Paragraph 29 of the Amended

   Complaint.

          30.    Samsung denies the allegations contained in Paragraph 30 of the Amended

   Complaint.

          31.    Samsung admits that the Samsung Galaxy Buds Pro includes an inner

   microphone and two outer microphones, a 2 way speaker, and a BCM 43015 SoC chipset that

   includes a DSP and runs the RTOS operating system.        Samsung denies the remaining

   allegations contained in Paragraph 31 of the Amended Complaint.

          32.    Samsung denies the allegations contained in Paragraph 32 of the Amended

   Complaint.

          33.    Samsung admits that certain versions of the Samsung Galaxy S20 Ultra include

   a Snapdragon 865 processor, 12 GB of LPDDR5 RAM, 128 GB of flash storage, and four

   cameras. Samsung denies the remaining allegations contained in Paragraph 33 of the Amended

   Complaint.

          34.    Samsung admits that the Bixby platform allows a user to activate audio and

   video recordings on the Samsung Galaxy S20 when used in conjunction with the Samsung

   Galaxy Buds Pro. Samsung denies the remaining allegations contained in Paragraph 34 of the

   Amended Complaint.

          35.    Samsung admits that Bixby platform functionality can be activated on the

   Samsung Galaxy S20 by the user speaking a command, including “Hi, Bixby.” Samsung

   admits that Bixby servers include at least a processor and processor readable memory.

   Samsung denies the remaining allegations contained in Paragraph 35 of the Amended

   Complaint.

           36.   Samsung admits that the cited webpage has been accurately quoted. Samsung

    denies the remaining allegations contained in Paragraph 36 of the Amended Complaint.



                                               6
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 8 of 72 PageID #: 1646




          37.    Samsung admits that a user can use Bixby to initiate a phone call on Bixby

   enabled phones. Samsung denies the remaining allegations contained in Paragraph 37 of the

   Amended Complaint.

          38.    Samsung denies the allegations contained in Paragraph 38 of the Amended

   Complaint.

          39.    Samsung admits that the Original Complaint was filed on November 5, 2021.

   Samsung denies the remaining allegations of Paragraph 39 of the Amended Complaint.

          40.    Samsung lacks knowledge or information sufficient to form a belief as to the

   truth of whether “retailers such as the Walmart Supercenter at 1701 E End Blvd N, Marshall,

   TX 75670 offer Accused Products for sale,” and on that basis, denies such allegations.

   Samsung denies the remaining allegations contained in Paragraph 40 of the Amended

   Complaint.

          41.    Samsung denies the allegations contained in Paragraph 41 of the Amended

   Complaint.

          42.    Samsung denies the allegations contained in Paragraph 42 of the Amended

   Complaint.

          43.    Samsung denies the allegations contained in Paragraph 43 of the Amended

   Complaint.

          44.    Samsung denies the allegations contained in Paragraph 44 of the Amended

   Complaint.

          45.    Samsung denies the allegations contained in Paragraph 45 of the Amended
   Complaint.




                                               7
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 9 of 72 PageID #: 1647




                                               COUNT I
                            Defendants' Infringement of the '839 Patent
           46.     Paragraph 46 of the Amended Complaint does not require an answer. To the

   extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

   45 as if fully set forth herein.

           47.     Samsung denies the allegations contained in Paragraph 47 of the Amended

   Complaint.

           48.     Samsung denies the allegations contained in Paragraph 48 of the Amended

   Complaint.

           49.     Samsung denies the allegations contained in Paragraph 49 of the Amended

   Complaint.

           50.     Samsung denies the allegations contained in Paragraph 50 of the Amended

   Complaint.

           51.     Samsung admits that the language of claim 1 of the ’839 Patent recites “[a]n

   Always-On Recording System (AORS) comprising: a first monitoring assembly mounted in an

   earpiece, the earpiece configured to occlude and form an acoustic seal of an ear canal, the first

   monitoring assembly including an Ambient Sound Microphone (ASM) to monitor an ambient

   acoustic field at an entrance to the ear canal occluded by the earpiece, the ASM producing an ASM

   signal responsive to the ambient acoustic field; a second monitoring assembly mounted in the

   earpiece and including an ear canal microphone (ECM) to monitor an acoustic field within the ear

   canal occluded by the earpiece, the ECM producing an ECM signal responsive to the acoustic field

   within the ear canal; a data storage device configured to act as a circular buffer for continually

   storing at least one of the ECM signal or the ASM signal; a further data storage device coupled to

   the data storage device; and a record-activation system including software configured to activate the

   further data storage device to record a content of the data storage device.” Samsung denies the

   remaining allegations of Paragraph 51 of the Amended Complaint.


                                                    8
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 10 of 72 PageID #: 1648




           52.    Samsung admits the Galaxy Buds+ are earbuds that can be placed in a portion

    of a user ear. Samsung further admits that the Galaxy Buds+ include an inner microphone and

    outer microphone, as well as a memory that can store audio data temporarily. Samsung admits

    that the Samsung Galaxy S20 has a memory. Samsung admits that the Samsung Galaxy S20

    has Bluetooth audio functionality. Samsung also admits that the Samsung Galaxy S20 has

    preinstalled software and that certain Samsung Galaxy S20 phones have a camera application

    that with an update enables the setting of a Bluetooth microphone as an audio source. Samsung

    denies the remaining allegations contained in Paragraph 52 of the Amended Complaint.

           53.    Samsung denies the allegations contained in Paragraph 53 of the Amended

    Complaint.

           54.     Samsung denies the allegations contained in Paragraph 54 of the Amended

    Complaint.

           55.    Samsung denies the allegations contained in Paragraph 55 of the Amended

    Complaint.

           56.    Samsung denies the allegations contained in Paragraph 56 of the Amended

    Complaint.

           57.    Samsung denies the allegations contained in Paragraph 57 of the Amended

    Complaint.

           58.    Samsung admits that SEA has continued to sell Samsung Buds Pro in the United

    States after the filing of the Original Complaint. Samsung denies the remaining allegations

    contained in Paragraph 58 of the Amended Complaint.

           59.    Samsung denies the allegations contained in Paragraph 59 of the Amended

    Complaint.

           60.    Samsung denies the allegations contained in Paragraph 60 of the Amended

    Complaint.



                                                 9
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 11 of 72 PageID #: 1649




                                              COUNT II
                             Defendants' Infringement of the ’591 Patent
            61.     Paragraph 61 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    60 as if fully set forth herein.

            62.     Samsung denies the allegations contained in Paragraph 62 of the Amended

    Complaint.

            63.     Samsung denies the allegations contained in Paragraph 63 of the Amended

    Complaint.

            64.     Samsung denies the allegations contained in Paragraph 64 of the Amended

    Complaint.

            65.     Samsung denies the allegations contained in Paragraph 65 of the Amended

    Complaint.

            66.     Samsung admits the claim 11 of the ’591 Patent recites: “An earpiece,

    comprising: an Ambient Sound Microphone (ASM) configured to capture ambient sound; an

    Ear Canal Microphone (ECM) configured to capture internal sound in an ear canal; a memory;

    and a processor operatively coupled to the ASM, the ECM and the memory, where the

    processor is configured to save a portion of at least one of the captured ambient sound and the

    captured internal sound in response to an event, wherein the event is a detected sound signature

    within the ambient sound.” Samsung denies the remaining allegations contained in Paragraph

    66 of the Amended Complaint.

            67.     Samsung admits that the Samsung Galaxy Buds Pro is an earpiece having an

    inner mic and two outer mics that capture sounds. Samsung further admits that the Samsung

    Galaxy Buds Pro includes a memory and a processor.            Samsung denies the remaining

    allegations contained in Paragraph 67 of the Amended Complaint.




                                                  10
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 12 of 72 PageID #: 1650




           68.     Samsung admits that on the face of the ’591 Patent, claim 16 is a dependent

    claim based upon independent claim 14. Samsung admits that the language of claim 14 of the

    ’591 Patent recites: “[a]n earpiece, comprising: an Ambient Sound Microphone (ASM)

    configured to capture ambient sound; an Ear Canal Microphone (ECM) configured to capture

    internal sound in an ear canal; an Ear Canal Receiver (ECR) configured to deliver audio content

    to the ear canal; a memory; and a processor operatively coupled to the ASM, the ECM, the

    ECR and the memory, where the processor is configured to save a portion of at least one of the

    captured ambient sound, the captured internal sound, and the delivered audio content in

    response to an event.” Samsung also admits that claim 16 of the ’591 Patent recites: “[t]he

    earpiece of claim 14, wherein the event is a touching of the earpiece, a recognizing of a voice

    command, a starting or ending of a phone call, an abrupt movement of the earpiece, or a

    scheduled time.” Samsung denies the remaining allegations contained in Paragraph 68 of the

    Amended Complaint.

           69.     Samsung admits that the Samsung Galaxy Buds Pro is an earpiece having an

    inner mic and two outer mics that capture sounds. Samsung further admits that the Samsung

    Galaxy Buds Pro includes a memory and a processor. Samsung further admits that the Galaxy

    Buds Pro includes a Voice Pickup Unit and that in Voice Detect, the Voice Pickup Unit can

    sense some types of jaw movement of the user. Samsung denies the remaining allegations

    contained in Paragraph 69 of the Amended Complaint.

           70.     Samsung denies the allegations contained in Paragraph 70 of the Amended

    Complaint.

           71.     Samsung denies the allegations contained in Paragraph 71 of the Amended

    Complaint.

           72.     Samsung denies the allegations contained in Paragraph 72 of the Amended

    Complaint.



                                                  11
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 13 of 72 PageID #: 1651




            73.     Samsung denies the allegations contained in Paragraph 73 of the Amended

    Complaint.

            74.     Samsung denies the allegations contained in Paragraph 74 of the Amended

    Complaint.

            75.     Samsung admits that SEA has continued to sell Samsung Buds Pro in the United

    States after the filing of the Original Complaint. Samsung denies the remaining allegations

    contained in Paragraph 75 of the Amended Complaint.

            76.     Samsung denies the allegations contained in Paragraph 76 of the Amended

    Complaint.

            77.     Samsung denies the allegations contained in Paragraph 77 of the Amended

    Complaint.

                                               COUNT III
                             Defendants' Infringement of the ’400 Patent
            78.     Paragraph 78 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    77 as if fully set forth herein.

            79.     Samsung denies the allegations contained in Paragraph 79 of the Amended

    Complaint.

            80.     Samsung denies the allegations contained in Paragraph 80 of the Amended

    Complaint.

            81.     Samsung denies the allegations contained in Paragraph 81 of the Amended

    Complaint.

            82.     Samsung denies the allegations contained in Paragraph 82 of the Amended

    Complaint.

            83.     Samsung admits that claim 14 of the ’400 patent recites: “A method for acoustic

    management control comprising the steps of: providing an acoustic barrier to an ear canal of a user;


                                                    12
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 14 of 72 PageID #: 1652




    capturing an ambient sound from at least one Ambient Sound Microphone (ASM) to produce an

    ambient sound signal that includes an external voice signal of the user; capturing in the ear canal of

    the user an internal sound from the at least one Ear Canal Microphone (ECM) to produce an internal

    sound signal that includes an internal voice signal of the user; determining a background noise signal

    from at least one of the ambient sound signal or the internal sound signal; and adjusting an amplitude

    of one or more frequencies of the internal sound signal and the ambient sound signal based on the

    background noise signal, to filter the internal sound signal relative to the ambient sound signal.”

            84.     Samsung admits that the Samsung Galaxy Buds is an earpiece that may be inserted

    into the ear of a user and includes at least one outer mic, at least one inner mic, and a processor.

    Samsung denies the remaining allegations contained in Paragraph 84 of the Amended Complaint.

            85.     Samsung denies the allegations contained in Paragraph 85 of the Amended

    Complaint.

            86.     Samsung denies the allegations contained in Paragraph 86 of the Amended

    Complaint.

            87.     Samsung denies the allegations contained in Paragraph 87 of the Amended

    Complaint.

            88.     Samsung denies the allegations contained in Paragraph 88 of the Amended

    Complaint.

            89.     Samsung denies the allegations contained in Paragraph 89 of the Amended

    Complaint.

            90.     Samsung denies the allegations contained in Paragraph 90 of the Amended

    Complaint.

            91.     Samsung denies the allegations contained in Paragraph 91 of the Amended

    Complaint.




                                                     13
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 15 of 72 PageID #: 1653




            92.     Samsung denies the allegations contained in Paragraph 92 of the Amended

    Complaint.

                                               COUNT IV
                             Defendants' Infringement of the ’982 Patent
            93.     Paragraph 93 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    92 as if fully set forth herein.

            94.     Samsung denies the allegations contained in Paragraph 94 of the Amended

    Complaint.

            95.     Samsung denies the allegations contained in Paragraph 95 of the Amended

    Complaint.

            96.     Samsung denies the allegations contained in Paragraph 96 of the Amended

    Complaint.

            97.     Samsung denies the allegations contained in Paragraph 97 of the Amended

    Complaint.

            98.     Samsung admits that on the face of the ’982 Patent claim 2 depends from claim

    1. Samsung admits that the language of claim 1 of the ’982 Patent recites: “[a]n Always-On

    Recording System (AORS) comprising a monitoring assembly mounted on a mobile phone, the

    monitoring assembly including an ambient sound microphone (ASM) to monitor an ambient

    acoustic field proximate to the mobile phone, the ASM producing an ASM signal responsive to the

    ambient acoustic field; a data storage device configured to act as a circular buffer for continually

    storing the ASM signal; a further data storage device coupled to the data storage device; and a

    record-activation system including software configured to activate the further data storage device to

    record a content of the data storage device.” Samsung also admits that claim 2 of the ’982 Patent

    recites: “[t]he system according to claim 1, where the record-activation system is configured to

    activate the further data storage device responsive to detection of at least one of a speech sound, a


                                                     14
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 16 of 72 PageID #: 1654




    non-speech sound or a transient sound in the content of the data storage device.” Samsung denies

    the remaining allegations contained in Paragraph 98 of the Amended Complaint.

           99.     Samsung admits that certain Samsung Galaxy S20 and certain other Samsung

    Galaxy smartphones have a high AOP microphone. Samsung denies the remaining allegations

    contained in Paragraph 99 of the Amended Complaint.

           100.    Samsung admits that when the Bixby is installed, configured, and enabled on

    certain Samsung Galaxy S20 phones, the Bixby platform functionality can be activated by the

    user speaking a command, including “Hi, Bixby.” Samsung denies the remaining allegations

    contained in Paragraph 100 of the Amended Complaint.

           101.    Samsung admits the Samsung Galaxy S20 includes a flash memory. Samsung

    denies the remaining allegations contained in Paragraph 101 of the Amended Complaint.

           102.    Samsung admits that certain versions of the Samsung Voice Recorder application

    include a voice memo mode that can convert voice to text. Samsung admits the Samsung Voice

    Recorder is designed to provide a recording experience with high quality sound, while also

    offering playback and editing capabilities. Samsung denies the remaining allegations contained

    in Paragraph 102 of the Amended Complaint.

           103.    Samsung denies the allegations contained in Paragraph 103 of the Amended

    Complaint.

           104.    Samsung denies the allegations contained in Paragraph 104 of the Amended

    Complaint.

           105.    Samsung denies the allegations contained in Paragraph 105 of the Amended

    Complaint.

           106.    Samsung denies the allegations contained in Paragraph 106 of the Amended

    Complaint.




                                                  15
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 17 of 72 PageID #: 1655




            107.    Samsung denies the allegations contained in Paragraph 107 of the Amended

    Complaint.

            108.    Samsung admits that SEA has continued to sell Samsung Galaxy S20 in the

    United States after the filing of the Original Complaint. Samsung denies the remaining

    allegations contained in Paragraph 108 of the Amended Complaint.

            109.    Samsung denies the allegations contained in Paragraph 109 of the Amended

    Complaint.

            110.    Samsung denies the allegations contained in Paragraph 110 of the Amended

    Complaint.

                                             COUNT V
                             Defendants' Infringement of the ’542 Patent
            111.    Paragraph 111 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    110 as if fully set forth herein.

            112.    Samsung denies the allegations contained in Paragraph 112 of the Amended

    Complaint.

            113.    Samsung denies the allegations contained in Paragraph 113 of the Amended

    Complaint.

            114.    Samsung denies the allegations contained in Paragraph 114 of the Amended

    Complaint.

            115.    Samsung denies the allegations contained in Paragraph 115 of the Amended

    Complaint.

            116.    Samsung admits that claim 1 of the ’542 Patent recites: “A method for passing

    ambient sound to an earphone device configured to be inserted in an ear canal of a user, the

    method comprising the steps of: capturing the ambient sound from an ambient sound

    microphone (ASM) proximate to the earphone device to form an ASM signal; receiving an


                                                 16
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 18 of 72 PageID #: 1656




    audio content (AC) signal from a remote device; detecting voice activity of the user of the

    earphone device; mixing the ASM signal and the AC signal to form a mixed signal, such that,

    in the mixed signal, an ASM gain of the ASM signal is increased and an AC gain of the AC

    signal is decreased when the voice activity is detected; detecting a cessation of the voice

    activity; delaying modification of the ASM gain and the AC gain for a predetermined time

    period responsive to the detected cessation of the voice activity; and directing the mixed signal

    to an ear canal receiver (ECR) of the earphone device.” Samsung denies the remaining

    allegations contained in Paragraph 116 of the Amended Complaint.

           117.    Samsung admits that the Galaxy Buds Pro includes a two way speaker, an inner

    microphone, and two outer microphones. Samsung further admits that the Buds Pro includes

    the BCM 43015 SoC chipset that runs the RTOS operating system. Samsung further admits

    that the Buds Pro can receive an audio content signal (e.g., music) from a remote device (e.g.,

    a smartphone) via Bluetooth.       Samsung denies the remaining allegations contained in

    Paragraph 117 of the Amended Complaint.

           118.     Samsung admits that audio content delivered to the Samsung Galaxy Buds Pro can

    be music content or music contents associated with a video clip. Samsung further admits that Voice

    Detect in the Samsung Galaxy Buds Pro can switch from Active Noise Canceling (ANC) to

    Ambient Sound mode. Samsung denies the remaining allegations contained in Paragraph 118

    of the Amended Complaint.

           119.    Samsung admits that the Voice Detect feature of the Samsung Galaxy Buds Pro

    can switch from ANC to Ambient Sound mode. Samsung further admits that when switching

    with Voice Detect in ANC mode, the ambient sound level can be increased and the music

    volume can be decreased. Samsung denies the remaining allegations contained in Paragraph

    119 of the Amended Complaint.




                                                   17
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 19 of 72 PageID #: 1657




            120.    Samsung admits that after a switch to Ambient Sound mode from ANC,

    Samsung Galaxy Buds Pro switches back to the ANC mode after a period of time. Samsung

    denies the remaining allegations contained in Paragraph 120 of the Amended Complaint.

            121.     Samsung denies the allegations contained in Paragraph 121 of the Amended

    Complaint.

            122.    Samsung denies the allegations contained in Paragraph 122 of the Amended

    Complaint.

            123.    Samsung denies the allegations contained in Paragraph 123 of the Amended

    Complaint.

            124.    Samsung denies the allegations contained in Paragraph 124 of the Amended

    Complaint.

            125.    Samsung denies the allegations contained in Paragraph 125 of the Amended

    Complaint.

            126.    Samsung admits that SEA has continued to sell Samsung Buds Pro in the United

    States after the filing of the Original Complaint. Samsung denies the allegations contained in

    Paragraph 126 of the Amended Complaint.

            127.    Samsung denies the allegations contained in Paragraph 127 of the Amended

    Complaint.

            128.    Samsung denies the allegations contained in Paragraph 128 of the Amended

    Complaint.

                                            COUNT VI
                             Defendants' Infringement of the ’244 Patent
            129.    Paragraph 129 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    128 as if fully set forth herein.




                                                 18
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 20 of 72 PageID #: 1658




           130.    Samsung denies the allegations contained in Paragraph 130 of the Amended

    Complaint.

           131.    Samsung denies the allegations contained in Paragraph 131 of the Amended

    Complaint.

           132.    Samsung denies the allegations contained in Paragraph 132 of the Amended

    Complaint.

           133.    Samsung denies the allegations contained in Paragraph 133 of the Amended

    Complaint.

           134.    Samsung admits that claim 1 of the ’244 Patent recites: “A method for close

    proximity detection and automatic audio mixing performed by a processor suitable for use with

    an earphone, the method comprising the steps of: monitoring sound from an ambient sound

    microphone communicatively coupled to the processor; automatically activating a voice timer

    responsive to detecting voice activity or a cessation of voice activity in the sound as part of the

    close proximity detection; adjusting a mixing gain of an audio content signal delivered to the

    earphone with the ambient sound pass-through during a voice timer pending voice activity; and

    wherein the audio content is one of a voice signal, music content, or audible sound delivered

    to the internal speaker for audible reproduction.” Samsung denies the remaining allegations

    contained in Paragraph 134 of the Amended Complaint.

           135.    Samsung admits that the Buds Pro includes the BCM 43015 chipset that includes

    a DSP and runs the RTOS operating system. Samsung further admits that the Buds Pro includes

    a two way speaker and three microphones: an Inner Mic and two Outer Mics that capture

    sounds. Samsung denies the remaining allegations contained in Paragraph 135 of the Amended

    Complaint.

           136.    Samsung admits that the audio content delivered to the Samsung Galaxy Buds

    Pro can be, for example, music content, including music content associated with a video clip.



                                                    19
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 21 of 72 PageID #: 1659




    Samsung further admits that Voice Detect in the Samsung Galaxy Buds Pro can switch from ANC

    to Ambient Sound. Samsung denies the remaining allegations contained in Paragraph 136 of

    the Amended Complaint.

           137.   Samsung admits that the Voice Detect feature has a timer that is used as part of

    determining when to switch from Ambient Sound mode to ANC mode. Samsung denies the

    remaining allegations contained in Paragraph 137 of the Amended Complaint.

           138.   Samsung denies the allegations contained in Paragraph 138 of the Amended

    Complaint.

           139.   Samsung denies the allegations contained in Paragraph 139 of the Amended

    Complaint.

           140.   Samsung denies the allegations contained in Paragraph 140 of the Amended

    Complaint.

           141.   Samsung denies the allegations contained in Paragraph 141 of the Amended

    Complaint.

           142.   Samsung denies the allegations contained in Paragraph 142 of the Amended

    Complaint.

           143.   Samsung admits that SEA has continued to sell Samsung Buds Pro in the United

    States after the filing of the Original Complaint. Samsung denies the remaining allegations

    contained in Paragraph 143 of the Amended Complaint.

           144.   Samsung denies the allegations contained in Paragraph 144 of the Amended

    Complaint.

           145.   Samsung denies the allegations contained in Paragraph 145 of the Amended

    Complaint.




                                                 20
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 22 of 72 PageID #: 1660




                                              COUNT VII
                             Defendants' Infringement of the ’082 Patent
            146.    Paragraph 146 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    145 as if fully set forth herein.

            147.    Samsung denies the allegations contained in Paragraph 147 of the Amended

    Complaint.

            148.    Samsung denies the allegations contained in Paragraph 148 of the Amended

    Complaint.

            149.    Samsung denies the allegations contained in Paragraph 149 of the Amended

    Complaint.

            150.    Samsung denies the allegations contained in Paragraph 150 of the Amended

    Complaint.

            151.    Samsung admits that claim 14 of the ’082 Patent recites “A device capable of

    receiving and identifying acoustic keywords comprising: a microphone; a processor; and

    processor readable memory, where acoustic characteristics of at least five verbal keywords are

    stored in the processor readable memory, where the processor is configured to identify an

    acoustic keyword signal by comparing the acoustic characteristics of the at least five verbal

    keywords to an acoustic signal sent from the microphone, wherein the acoustic keyword signal

    is identified in the acoustic signal when temporal or spectral patterns of at least one of the five

    verbal keywords and the acoustic signal match within a threshold average value, where the

    processor has been configured to initiate at least one of the following based upon the keyword

    identified: initiate a phone call; initiate an increase gain to the acoustic signal; and initiate a

    decrease gain to the acoustic signal.” Samsung denies any remaining allegations contained in

    Paragraph 151 of the Amended Complaint.




                                                    21
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 23 of 72 PageID #: 1661




           152.   Samsung admits that certain versions of the Samsung Galaxy S20 and other

    Bixby-enabled Samsung Galaxy smartphones include a High AOP Microphone that produces

    a signal, and that certain versions of the Samsung Galaxy S20 smartphones include a

    Snapdragon 865 processor, 12 GB of LPDDR5 RAM, 128 GB of flash storage, and four

    cameras. Samsung denies the remaining allegations contained in Paragraph 152 of the

    Amended Complaint.

           153.   Samsung denies the allegations contained in Paragraph 153 of the Amended

    Complaint.

           154.   Samsung admits that the Bixby platform involves at least one server that

    includes at least one processor and processor readable memory. Samsung denies the remaining

    allegations contained in Paragraph 154 of the Amended Complaint.

           155.   Samsung admits that the cited webpage has been accurately quoted. Samsung

    denies the remaining allegations contained in Paragraph 155 of the Amended Complaint.

           156.   Samsung admits that a user can use Bixby to initiate a phone call on Bixby-

    enabled phones. Samsung denies the remaining allegations contained in Paragraph 156 of the

    Amended Complaint.

           157.   Samsung denies the allegations contained in Paragraph 157 of the Amended

    Complaint.

           158.   Samsung admits that the Samsung Galaxy S20 contains a processor that is

    involved in the process of initiating phone calls. Samsung denies the remaining allegations

    contained in Paragraph 158 of the Amended Complaint.

           159.   Samsung denies the allegations contained in Paragraph 159 of the Amended

    Complaint.

           160.   Samsung denies the allegations contained in Paragraph 160 of the Amended

    Complaint.



                                                22
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 24 of 72 PageID #: 1662




            161.    Samsung denies the allegations contained in Paragraph 161 of the Amended

    Complaint.

            162.    Samsung denies the allegations contained in Paragraph 162 of the Amended

    Complaint.

            163.    Samsung admits that SEA has continued to sell Samsung Galaxy S20 in the

    United States after the filing of the Original Complaint. Samsung denies the remaining

    allegations contained in Paragraph 163 of the Amended Complaint.

            164.    Samsung denies the allegations contained in Paragraph 164 of the Amended

    Complaint.

            165.    Samsung denies the allegations contained in Paragraph 165 of the Amended

    Complaint.

                                             COUNT VIII
                             Defendants' Infringement of the ’015 Patent
            166.    Paragraph 166 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    165 as if fully set forth herein.

            167.    Samsung denies the allegations contained in Paragraph 167 of the Amended

    Complaint.

            168.    Samsung denies the allegations contained in Paragraph 168 of the Amended

    Complaint.

            169.    Samsung denies the allegations contained in Paragraph 169 of the Amended

    Complaint.

            170.    Samsung denies the allegations contained in Paragraph 170 of the Amended

    Complaint.

            171.    Samsung admits that claim 1 of the ’015 Patent recites: “A method for activating

    ambient sound pass-through in an earphone in response to a detected keyword in the ambient


                                                   23
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 25 of 72 PageID #: 1663




    sound field of the earphone user, the steps of the method comprising: receiving at least one

    ambient sound microphone (ASM) signal; receiving at least one audio content (AC) signal;

    identifying if a keyword is matched to a portion of the ASM signal, wherein the keyword is

    matched to the portion of the ASM signal when temporal or spectral patterns of the keyword

    and the portion of the ASM signal match within a threshold average value; and generating an

    ASM gain if a keyword is matched to the portion of the ASM signal; and applying the ASM

    gain to the ASM signal until a new keyword is detected or manually adjusted.” Samsung denies

    any remaining allegations contained in Paragraph 171 of the Amended Complaint.

           172.   Samsung admits that the cited webpage has been accurately quoted. Samsung

    denies the remaining allegations contained in Paragraph 172 of the Amended Complaint.

           173.   Samsung denies the allegations contained in Paragraph 173 of the Amended

    Complaint.

           174.   Samsung denies the allegations contained in Paragraph 174 of the Amended

    Complaint.

           175.   Samsung admits that Samsung Galaxy Buds, Buds+, and Buds Pro are configured

    to receive phone call or music audio via Bluetooth. Samsung denies the remaining allegations

    contained in Paragraph 175 of the Amended Complaint.

           176.   Samsung denies the allegations contained in Paragraph 176 of the Amended

    Complaint.

           177.   Samsung denies the allegations contained in Paragraph 177 of the Amended

    Complaint.

           178.   Samsung denies the allegations contained in Paragraph 178 of the Amended

    Complaint.

           179.   Samsung denies the allegations contained in Paragraph 179 of the Amended

    Complaint.



                                                24
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 26 of 72 PageID #: 1664




            180.    Samsung denies the allegations contained in Paragraph 180 of the Amended

    Complaint.

            181.    Samsung denies the allegations contained in Paragraph 181 of the Amended

    Complaint.

            182.    Samsung denies the allegations contained in Paragraph 182 of the Amended

    Complaint.

            183.    Samsung admits that SEA has continued to sell Samsung Buds+ in the United

    States after the filing of the Original Complaint. Samsung denies remaining the allegations

    contained in Paragraph 183 of the Amended Complaint.

            184.    Samsung denies the allegations contained in Paragraph 184 of the Amended

    Complaint.

            185.    Samsung denies the allegations contained in Paragraph 185 of the Amended

    Complaint.

                                            COUNT IX
                             Defendants' Infringement of the ’424 Patent
            186.    Paragraph 186 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    185 as if fully set forth herein.

            187.    Samsung denies the allegations contained in Paragraph 187 of the Amended

    Complaint.

            188.    Samsung denies the allegations contained in Paragraph 188 of the Amended

    Complaint.

            189.    Samsung denies the allegations contained in Paragraph 189 of the Amended

    Complaint.

            190.    Samsung denies the allegations contained in Paragraph 190 of the Amended

    Complaint.


                                                 25
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 27 of 72 PageID #: 1665




           191.    Samsung admits that claim 1 of the ’424 patent recites: “An electronic audio

    device for use with at least one earpiece or a pair of earpieces, or a pair of earpieces in a

    headphone, each earpiece having a microphone operatively coupled to the earpiece and a

    speaker located therein, comprising: circuitry operatively coupled to the microphone and

    speaker; a processor operatively coupled to evaluate a seal quality of the earpiece based on seal

    quality measurements made while driving or exciting a signal into the speaker located in the

    earpiece; and wherein the processor is configured to generate a visual or audio message

    identifying whether the at least one earpiece is properly sealed based on the seal quality

    measurements.” Samsung denies the remaining allegations contained in Paragraph 191 of the

    Amended Complaint.

           192.    Samsung admits that the Samsung Galaxy Buds 2 includes an external

    microphone, an internal microphone, and a speaker. Samsung denies the remaining allegations

    contained in Paragraph 192 of the Amended Complaint.

           193.    Samsung admits that the cited webpage has been accurately quoted. Samsung

    denies the remaining allegations contained in Paragraph 193 of the Amended Complaint.

           194.    Samsung admits that the Samsung Galaxy Buds 2 has a pair of earpieces, which

    include an internal microphone, an external microphone, and a speaker. Samsung denies the

    remaining allegations contained in Paragraph 194 of the Amended Complaint.

           195.    Samsung denies the allegations contained in Paragraph 195 of the Amended

    Complaint.

           196.    Samsung denies the allegations contained in Paragraph 196 of the Amended

    Complaint.

           197.    Samsung denies the allegations contained in Paragraph 197 of the Amended

    Complaint.




                                                   26
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 28 of 72 PageID #: 1666




            198.    Samsung denies the allegations contained in Paragraph 198 of the Amended

    Complaint.

            199.    Samsung denies the allegations contained in Paragraph 199 of the Amended

    Complaint.

            200.    Samsung admits that SEA has continued to sell Samsung Buds 2 in the United

    States after the filing of the Original Complaint. Samsung denies the remaining allegations

    contained in Paragraph 200 of the Amended Complaint.

            201.    Samsung denies the allegations contained in Paragraph 201 of the Amended

    Complaint.

            202.    Samsung denies the allegations contained in Paragraph 202 of the Amended

    Complaint.

                                             COUNT X
                             Defendants' Infringement of the ’836 Patent
            203.    Paragraph 203 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung repeats and realleges the responses to Paragraphs 1–

    202 as if fully set forth herein.

            204.    Samsung denies the allegations contained in Paragraph 204 of the Amended

    Complaint.

            205.    Samsung denies the allegations contained in Paragraph 205 of the Amended

    Complaint.

            206.    Samsung denies the allegations contained in Paragraph 206 of the Amended

    Complaint.

            207.    Samsung denies the allegations contained in Paragraph 207 of the Amended

    Complaint.

            208.    Samsung admits that claim 9 of the ’836 Patent recites: “An earphone

    configured to perform an eartip fit test comprising: a first microphone, configured to output a


                                                  27
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 29 of 72 PageID #: 1667




    first microphone signal based on a measurement of sound measured from a first side of the

    earphone; a second microphone, configured to output a second microphone signal based on a

    measurement of sound measured closer to the second side the earphone than the sound

    measured by the first microphone; a speaker; an eartip, configured to seal the earphone between

    the first side and a second side of the earphone; a memory that stores instructions; and a

    processor, operatively connected to the first microphone, where the processor is operatively

    connected to the speaker, where the processor is operatively connected to the memory, where

    the processor is configured to execute the instructions to perform operations, the operations

    comprising: sending a test fit signal to the speaker, where the speaker emits an audio test signal

    in response to the test fit signal; receiving the first microphone signal; comparing the

    microphone signal to the test fit signal to determine eartip seal; sending a first message to a

    user if the eartip seal is above a threshold level indicating a good seal, where the first message

    is visually displayed on a device communicatively coupled to the earphone; sending a second

    message to a user if the eartip seal is below a threshold level, indicating that a new eartip or

    adjustment of the current eartip is needed, where the second message is visually displayed on

    the device communicatively coupled to the earphone.”           Samsung denies the remaining

    allegations contained in Paragraph 208 of the Amended Complaint.

           209.    Samsung admits that the Samsung Galaxy Buds 2 includes an external

    microphone, an internal microphone, and a speaker. Samsung denies the remaining allegations

    contained in Paragraph 209 of the Amended Complaint.

           210.    Samsung admits that the Samsung Galaxy Buds 2 includes a processor and

    memory. Samsung denies the remaining allegations contained in Paragraph 210 of the

    Amended Complaint.

           211.    Samsung denies the allegations contained in Paragraph 211 of the Amended

    Complaint.



                                                   28
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 30 of 72 PageID #: 1668




           212.    Samsung denies the allegations contained in Paragraph 212 of the Amended

    Complaint.

           213.    Samsung denies the allegations contained in Paragraph 213 of the Amended

    Complaint.

           214.    Samsung denies the allegations contained in Paragraph 214 of the Amended

    Complaint.

           215.    Samsung denies the allegations contained in Paragraph 215 of the Amended

    Complaint.

           216.    Samsung denies the allegations contained in Paragraph 216 of the Amended

    Complaint.

           217.    Samsung admits that SEA has continued to sell Samsung Buds 2 and Galaxy

    S20 in the United States after the filing of the Original Complaint. Samsung denies the

    remaining allegations contained in Paragraph 217 of the Amended Complaint.

           218.    Samsung denies the allegations contained in Paragraph 218 of the Amended

    Complaint.

           219.    Samsung denies the allegations contained in Paragraph 219 of the Amended

    Complaint.


                                   DEMAND FOR JURY TRIAL
           220.    Paragraph 220 of the Amended Complaint does not require an answer. To the

    extent any response is required, Samsung denies that Plaintiffs are entitled to any of the relief

    requested in the Amended Complaint against Samsung.


                                      PRAYER FOR RELIEF
           221.    Samsung denies that Plaintiffs are entitled to any of the relief requested in the

    Prayer for Relief against Samsung.




                                                   29
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 31 of 72 PageID #: 1669




                                          GENERAL DENIAL
              Samsung further denies each and every allegation contained in Plaintiff’s Amended
    Complaint that Samsung has not specifically admitted, denied, or otherwise responded to
    herein.
                             SAMSUNG’S AFFIRMATIVE DEFENSES
              1.     Subject to the responses above, and fully incorporating by reference the

    statements in Samsung’s Counterclaims below, Samsung alleges and asserts the following

    defenses in response to the Amended Complaint, undertaking the burden of proof only as to

    those defenses deemed affirmative defenses by law, regardless of how such defenses are

    denominated herein. In addition to the Affirmative Defenses described below, and subject to

    the responses above, Samsung specifically reserves all rights to allege additional defenses that

    become known through the course of discovery or otherwise.



                                  FIRST AFFIRMATIVE DEFENSE
              2.     Plaintiffs have failed to state a claim upon which relief may be granted.



                                SECOND AFFIRMATIVE DEFENSE
              3.     The claims of the Patents-in-Suit are invalid for failure to comply with the

    requirements of Title 35, United States Code, including at least §§ 101, 102, 103, and/or 112.

                                           U.S. Patent No. 8,111,839

              4.     The ’839 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’839 Patent claims are directed to the abstract idea of
    monitoring and recording conditions in a surrounding environment. Further, the claims do not
    recite any “inventive concepts” that would transform the claims into patentable subject matter.
              5.     The ’839 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’839 Patent, at least as those claims are being asserted by



                                                    30
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 32 of 72 PageID #: 1670




    Plaintiffs. For example, the prior art includes: (a) 35 U.S.C. § 102 by U.S. Pub. No.
    2003/0161097 (“Le”), which is prior art under at least pre-AIA 102(b); (b) EP1519625A2
    (“Victorian”), which is prior art under at least pre-AIA 102(b); (c) U.S. Patent No. 5,903,868
    (“Yuen”), which is prior art under at least pre-AIA 102(b); (d) U.S. Patent No. 6,728,385
    (“Kvaløy”), which is prior art under at least pre-AIA 102(b); (e) U.S. Patent No. 7,756,285
    (“Sjursen”), which is prior art under at least pre-AIA 102(e); (f) U.S. Pub. No. 2002/0118798
    (“Langhart”), which is prior art under at least pre-AIA 102(b); (g) U.S. Patent No. 9,123,343
    (“Kurki”), which is prior art under at least pre-AIA 102(e); (h) U.S. Pub. No. 2004/0109668
    (“Stuckman”), which is prior art under at least pre-AIA 102(b); (i) U.S. Patent No. 7,430,299
    (“Armstrong”), which is prior art under at least pre-AIA 102(e); and U.S. Patent No. 6,021,325
    (“Hall”), which is prior art under at least pre-AIA 102(b).
           6.       On December 13, 2021, Samsung filed two Petitions for Inter Partes Review
    challenging the validity of claims 1–12, 14–17, and 21–23 of the ’839 Patent as rendered
    obvious under 35 U.S.C. § 103 in view of Le, Victorian, Yuen, Kvaløy, Sjursen, Langhart,
    Kurki, Stuckman, and Hall. True and correct copies of the Petitions are attached hereto as
    Exhibits 1–2.
           7.       The ’839 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’839 Patent. For example, the ’839 Patent fails to provide
    sufficient disclosure to enable a person of ordinary skill in the art to make a system according
    to claim 5, which requires “a signal processing system configured to at least one of multiplex
    output signals from the circular buffer or encode the output signals to reduce a data rate before
    transmission of the output signals to the further data storage device,” without undue
    experimentation.
                                          U.S. Patent No. 8,254,591

           8.       The ’591 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’591 Patent claims are directed to the abstract idea of
    capturing and saving a sound in response to an event. Further, the claims do not recite any
    “inventive concepts” that would transform the claims into patentable subject matter.



                                                   31
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 33 of 72 PageID #: 1671




           9.      The ’591 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,

    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the

    limitations of the claims of the ’591 Patent, at least as those claims are being asserted by

    Plaintiffs. For example, the prior art includes: (a) U.S. Patent Application Publication No.

    2003/0161097 (“Le ’097”), which is prior art under at least pre-AIA 35 U.S.C. § 102(b); (b)

    U.S. Patent 6,728,385 (“Kvaloy ’385”), which is prior art under at least pre-AIA 35 U.S.C. §

    102(b); (c) U.S. Patent 6,163,338 (“Johnson ’338”), which is prior art under at least pre-AIA

    35 U.S.C. § 102(b); (d) U.S. Patent 6,804,638 (“Fiedler ’638”), which is prior art at least under

    pre-AIA 35 U.S.C. § 102(b); (e) U.S. Patent Application Publication No. 2004/0042103

    (“Mayer ’103”), which is prior art at least under pre-AIA 35 U.S.C. § 102(b); and (f) U.S.

    Patent Application Publication 2001/0046304 (“Rast ’304”), which is prior art at least under

    pre-AIA 35 U.S.C. § 102(b).

           10.     On December 20, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1–7, 9, and 11–16 of the ’591 Patent as rendered obvious
    under 35 U.S.C. § 103 in view of Le ’097, Kvaloy ’385, Johnson ’338, Fiedler ’638, Mayer
    ’103, and Rast ’304. A true and correct copy of the Petition is attached hereto as Exhibit 3.
           11.     The ’591 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’591 Patent. For example, the ’591 Patent specification fails
    to disclose to one skilled in the art that the inventors were in possession of “wherein the event
    is a detected sound signature within the ambient sound” as required by claim 11, and further
    does not enable a person of ordinary skill in the art to make an earpiece satisfying that limitation
    without undue experimentation.
                                           U.S. Patent No. 8,315,400

           12.     The ’400 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’400 Patent claims are directed to the abstract idea of




                                                    32
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 34 of 72 PageID #: 1672




    filtering sound signals based on background noise level. Further, the claims do not recite any
    “inventive concepts” that would transform the claims into patentable subject matter.
            13.     The ’400 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’400 Patent, at least as those claims are being asserted by
    Plaintiffs.   For example, the prior art includes: (a) U.S. Patent Application Publication
    2008/0037801 (“Alves”), which is prior art under at least pre-AIA 102(e); (b) U.S. Patent No.
    5,524,056 (“Killion”), which is prior art under at least pre-AIA 102(b); (c) International
    Publication No. WO 2006/037156 (“Mejia”), which is prior art under at least pre-AIA 102(b).
            14.     On December 10, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1-20 of the ’400 Patent. Samsung challenged the claims as
    anticipated or rendered obvious by Alves, Mejia, and Killion. A true and correct copy of the
    Petition is attached hereto as Exhibit 4.
            15.     The ’400 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in each of the independent claims of the ’400 Patent. For example, the ’400
    Patent specification fails to disclose to one skilled in the art that the inventors were in
    possession of “filter[ing] the internal sound signal relative to the ambient sound signal” as
    required by claim 1, and further does not enable a person of ordinary skill in the art to make an
    earpiece satisfying that limitation without undue experimentation.
                                           U.S. Patent No. 9,124,982

            16.     The ’982 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’982 Patent claims are directed to the abstract idea of
    monitoring a particular field and producing signals responsive to changes in that field. Further,
    the claims do not recite any “inventive concepts” that would transform the claims into
    patentable subject matter.
            17.     The ’982 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’982 Patent, at least as those claims are being asserted by



                                                   33
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 35 of 72 PageID #: 1673




    Plaintiffs. For example, the prior art includes: (a) Le, which is prior art under at least pre-AIA
    102(b); (b) U.S. Pub. No. 2004/0042103 (“Mayer”), which is prior art under at least pre-AIA
    102(b); (c) Yuen, which is prior art under at least pre-AIA 102(b); (d) Sjursen, which is prior
    art under at least pre-AIA 102(e); (e) Langhart, which is prior art under at least pre-AIA 102(b);
    (f) Kurki, which is prior art under at least pre-AIA 102(e); (g) Stuckman, which is prior art
    under at least pre-AIA 102(b); (h) U.S. Pub. No. 2002/0106091 (“Furst”), which is prior art
    under at least pre-AIA 102(b); U.S. Patent No. 9,135,797 (“Couper”), which is prior art under
    at least pre-AIA 102(e); and U.S. Pub. No. 2006/0092043A1 (“Lagassey”), which is prior art
    under at least pre-AIA 102(e) and 102(a).
           18.     On December 13, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1–6, 10, 14–15, 17–20, and 24–25 of the ’982 Patent as
    rendered obvious under 35 U.S.C. § 103 in view of Le, Mayer, Yuen, Sjursen, Langhart, Kurki,
    Stuckman, Furst, and Lagassey. A true and correct copy of the Petition is attached hereto as
    Exhibit 5.
           19.     The ’982 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’982 Patent. For example, the ’982 Patent specification fails
    to disclose to one skilled in the art that the inventors were in possession of “a monitoring
    assembly mounted on a mobile phone, the monitoring assembly including an ambient sound
    microphone” as required by claim 1.
                                          U.S. Patent No. 9,270,244

           20.     The ’244 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’244 Patent claims are directed to the abstract idea of
    receiving and filtering audio signals. Further, the claims do not recite any “inventive concepts”
    that would transform the claims into patentable subject matter.
           21.     The ’244 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’244 Patent, at least as those claims are being asserted by
    Plaintiffs. For example, the prior art includes: (a) U.S. Patent Application Publication No.



                                                   34
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 36 of 72 PageID #: 1674




    2007/0189544 (“Rosenberg ’544”), which is prior art under at least AIA 35 U.S.C. § 102(a)(1);
    (b) U.S. Patent No. 9,037,458 (“Park ’458”), which is prior art under at least AIA 35 U.S.C. §
    102(a)(2); (c) Kvaloy ’385, which is prior art under at least AIA 35 U.S.C. § 102(a)(1); and the
    publication Interaction Techniques Using Prosodic Features of Speech and Audio
    Localization, published on January 11, 2005 (“Olwal”), which is prior art under at least AIA
    35 U.S.C. § 102(a)(1).
           22.     On December 21, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1–30 of the ’244 Patent as rendered obvious under 35 U.S.C.
    § 103 in view of Rosenberg ’544, Park ’458, Kvaloy ’385, and Olwal. A true and correct copy
    of the Petition is attached hereto as Exhibit 6.
           23.     The ’244 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’244 Patent. For example, the ’244 Patent specification fails
    to disclose to one skilled in the art that the inventors were in possession of “determining the
    proximity of the individual with respect to the user wearing the earphone” as required by claim
    7, and further does not enable one skilled in the art to practice the claimed method without
    undue experimentation.
                                           U.S. Patent No. 9,491,542

           24.     The ’542 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’542 Patent claims are directed to the abstract idea of
    receiving and filtering audio signals. Further, the claims do not recite any “inventive concepts”
    that would transform the claims into patentable subject matter.
           25.     The ’542 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’542 Patent, at least as those claims are being asserted by
    Plaintiffs. For example, the prior art includes: (a) Rosenberg ’544, which is prior art under at
    least pre-AIA 35 U.S.C. § 102(b); (b) U.S. Patent Application Publication 2011/0096939
    (“Ichimura ’939”), which is prior art under at least pre-AIA 35 U.S.C. § 102(b); (c) U.S. Patent
    Application Publication No. 2011/0264447 (“Visser ’447”), which is prior art under at least



                                                       35
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 37 of 72 PageID #: 1675




    pre-AIA §§ 35 U.S.C. § 102(a) and 35 U.S.C. § 102(e); (d) U.S. Patent Application Publication
    2010/0296668 (“Lee ’668”), which is prior art under at least pre-AIA 35 U.S.C. § 102(b); and
    (e) Kvaloy ’385, which is prior art under at least pre-AIA 35 U.S.C. § 102(b).
              26.   On December 17, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1–10 and 13–20 of the ’542 Patent as rendered obvious under
    35 U.S.C. § 103 in view of Rosenberg ’544, Ichimura ’939, Visser ’447, Lee ’668, and Kvaloy
    ’385. A true and correct copy of the Petition is attached hereto as Exhibit 7.
              27.   The ’542 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’542 Patent. For example, the ’542 Patent specification does
    not provide sufficient disclosure to enable one skilled in the art to practice the claimed method
    of claim 1 with respect to at least the step of “mixing the ASM signal and the AC signal to
    form a mixed signal, such that, in the mixed signal, an ASM gain of the ASM signal is increased
    and an AC gain of the AC signal is decreased.”
                                          U.S. Patent No. 9,609,424

              28.   The ’424 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-

    eligible subject matter. For example, at least claim 1 of the ’424 Patent is directed to the

    abstract idea of evaluating measurements and communicating the results. Further, the claims

    do not recite any “inventive concepts” that would transform the claims into patentable subject

    matter.

              29.   The ’424 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,

    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the

    limitations of the claims of the ’424 Patent, at least as those claims are being asserted by

    Plaintiff. For example, the prior art includes: (a) Patent Publication 2004/0196992 (“Ryan”),

    published 10/7/2004, which is prior art under at least pre-AIA 35 U.S.C. § 102(b); (b) U.S.

    Patent No. 6,567,524 (“Svean”), issued 5/20/2003, which is prior art under at least pre-AIA 35

    U.S.C. § 102(b); (c) Patent Publication 2005/0123146 (“Voix”), which is prior art under at least




                                                   36
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 38 of 72 PageID #: 1676




    pre-AIA 35 U.S.C. § 102(b); (d) EPO Publication EP1519625A2 (“Victorian”), which is prior

    art under at least pre-AIA 35 U.S.C. § 102(b); (e) Patent Publication 2004/0125965 (“Alberth”),

    which is prior art under at least pre-AIA 35 U.S.C. § 102(b); (f) Patent Publication

    2006/0083395 (“Allen”), which is prior art under at least pre-AIA 35 U.S.C. § 102(a) and (e);

    and (g) Patent Publication 2005/0078838 (“Simon”), which is prior art under at least pre-AIA

    35 U.S.C. § 102(b).

           30.     On December 21, 2021, Samsung filed a Petition for Inter Partes Review

    challenging the validity of claims 1-20 of the ’424 Patent. Samsung challenged the claims as

    rendered obvious under 35 U.S.C. § 103 in view of Ryan, Svean, Voix, Alberth, Allen,

    Victorian, and Simon. A true and correct copy of the Petition is attached hereto as Exhibit 8.

           31.     The ’424 Patent is invalid under 35 U.S.C. § 112 at least because the

    specification does not contain sufficient written description support for and/or does not enable

    certain limitations in each of the independent claims of the ’424 Patent. For example, claim 1

    of the ’424 Patent requires “evaluates a seal quality” and “seal quality measurements,” but the

    patent’s specification provides no discussion of “evaluates a seal quality” and “seal quality

    measurements” that would demonstrate to one skilled in the art that the inventors were in

    possession of “evaluates a seal quality” and “seal quality measurements.”

                                          U.S. Patent No. 10,405,082

           32.     The ’082 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’082 Patent claims are directed to the abstract idea of
    detecting a keyword and automatically triggering a process—e.g., a pass-through mode or other
    function—based on that detection. Further, the claims do not recite any “inventive concepts”
    that would transform the claims into patentable subject matter.
           33.     The ’082 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’082 Patent, at least as those claims are being asserted by



                                                   37
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 39 of 72 PageID #: 1677




    Plaintiffs. For example, the prior art includes: (a) U.S Patent No. 8,150,044 (“Goldstein”),
    which is prior art under at least post-AIA 102(a)(1); (b) U.S. Patent Application Publication
    2015/0215701 (“Usher”), which is prior art under at least post-AIA 102(a)(1); (c) U.S Patent
    No. 8,522,916 (“Keady”), which is prior art under at least post-AIA 102(a)(1); (d) U.S Patent
    No. 7,280,849 (“Bailey”), which is prior art under at least post-AIA 102(a)(1).
           34.     On December 30, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1-15, 17, and 19-20 of the ’082 Patent. Samsung challenged
    the claims as obvious in view of Goldstein, Bailey, Keady, and Usher. A true and correct copy
    of the Petition is attached hereto as Exhibit 9.
           35.     The ’082 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’082 Patent. For example, the ’082 patent specification fails
    to disclose to one skilled in the art that the inventors were in possession of “where the processor
    is contained in a phone that wireless connects to the earphone” as required by claim 16 and
    “where the occluding portion is an eartip that provides a sound isolation at least 10 db when
    the eartip is inserted into an ear canal” as required by claim 20.
                                          U.S. Patent No. 10,966,015

           36.     The ’015 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-
    eligible subject matter. For example, the ’015 Patent claims are directed to the abstract idea of
    detecting a keyword and automatically triggering a process—e.g., a pass-through mode or other
    function—based on that detection. Further, the claims do not recite any “inventive concepts”
    that would transform the claims into patentable subject matter.
           37.     The ’015 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102,
    103 because the prior art discloses and/or renders obvious to one of ordinary skill in the art the
    limitations of the claims of the ’015 Patent, at least as those claims are being asserted by
    Plaintiffs. For example, the prior art includes: (a) U.S Patent No. 8,150,044 (“Goldstein”),
    which is prior art under at least post-AIA 102(a)(1); (b) U.S Patent No. 8,594,341
    (“Rothschild”), which is prior art under at least post-AIA 102(a)(1); (c) U.S. Patent Application




                                                       38
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 40 of 72 PageID #: 1678




    Publication 2015/0215701 (“Usher”), which is prior art under at least post-AIA 102(a)(1); (d)
    U.S Patent No. 8,522,916 (“Keady”), which is prior art under at least post-AIA 102(a)(1).
           38.     On January 4, 2021, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1-13, 15, and 17-18 of the ’015 Patent. Samsung challenged
    the claims as rendered obvious under 35 U.S.C. § 103 in view of Goldstein, Rothschild, Keady,
    and Usher. A true and correct copy of the Petition is attached hereto as Exhibit 10.
           39.     The ’015 Patent is invalid under 35 U.S.C. § 112 at least because the
    specification does not contain sufficient written description support for and/or does not enable
    certain limitations in claims of the ’015 Patent. For example, the ’015 patent specification fails
    to disclose to one skilled in the art that the inventors were in possession of “where the processor
    is contained in a phone that wireless connects to the earphone” as required by claim 14 and
    “where the occluding portion is an eartip that provides a sound isolation at least 10 db when
    the eartip is inserted into an ear canal” as required by claim 18.
                                          U.S. Patent No. 10,979,836

           40.     The ’836 Patent is invalid under 35 U.S.C. § 101 for failing to claim patent-

    eligible subject matter. For example, at least claim 9 of the ’836 Patent is directed to the

    abstract idea of comparing signals and sending information based on that comparison. Further,

    the claims do not recite any “inventive concepts” that would transform the claims into

    patentable subject matter.

           41.      The ’836 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§
    102, 103 because the prior art discloses and/or renders obvious to one of ordinary skill in the
    art the limitations of the claims of the ’836 Patent, at least as those claims are being asserted
    by Blaze. For example, the prior art includes: (a) U.S. Patent No. 6,567,524 (“Svean”), which
    is prior art under at least AIA 35 U.S.C. §§102(a)(1), 102(a)(2); and (b) U.S. Patent Application
    Publication No. US 2006/0188105 A1 (“Baskerville”), which is prior art under at least AIA 35
    U.S.C. §§102(a)(1), 102(a)(2)
           42.     On January 14, 2022, Samsung filed a Petition for Inter Partes Review
    challenging the validity of claims 1–18 of the ’836 Patent are anticipated under 35 U.S.C. §102



                                                    39
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 41 of 72 PageID #: 1679




    by Svean or rendered obvious under 35 U.S.C. §103 in view of Svean, Baskerville, and/or the
    knowledge of a person having ordinary skill in the art. A true and correct copy of the Petition
    is attached hereto as Exhibit 11.
           43.      The ’836 Patent is invalid under 35 U.S.C. § 112 at least because the

    specification does not contain sufficient written description support for and/or does not enable

    certain limitations in claims of the ’836 Patent. For example, the ’836 Patent specification fails

    to disclose to one skilled in the art that the inventors were in possession of “indicating that a

    new eartip… is needed” as required by claims 1, 9, and 14.



                                 THIRD AFFIRMATIVE DEFENSE
           44.      Samsung has not infringed and does not infringe, directly or indirectly, any valid

    and enforceable claim of the Patents-in-Suit.



                               FOURTH AFFIRMATIVE DEFENSE
           45.      Plaintiffs’ claim for damages, if any, is limited by 35 U.S.C. § 286 to the extent

    it seeks damages accruing prior to six years before it filed the Original Complaint alleging

    infringement.



                                 FIFTH AFFIRMATIVE DEFENSE
           46.      Some or all of Plaintiffs’ claims are barred by one or more of the doctrines of

    waiver, acquiescence, laches, estoppel (including without limitation equitable estoppel and

    prosecution history estoppel), unclean hands, and/or unenforceability.



                                 SIXTH AFFIRMATIVE DEFENSE
           47.      Plaintiffs are not entitled to injunctive relief against Samsung because any

    alleged injury to Plaintiffs as a result of Samsung’s alleged activities is not immediate or




                                                    40
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 42 of 72 PageID #: 1680




    irreparable, and Plaintiffs have an adequate remedy at law. Furthermore, the balance of

    hardships favors Samsung, and an injunction against Samsung would harm the public interest.



                               SEVENTH AFFIRMATIVE DEFENSE
           48.       Samsung has not engaged in any conduct that would make this an exceptional

    case or would entitle Plaintiffs to an award of attorneys’ fees under 35 U.S.C. § 285.



                                EIGHTH AFFIRMATIVE DEFENSE
           49.       Plaintiffs’ claim for damages, if any, is limited by 35 U.S.C. § 287(a) due to

    Plaintiffs’ failure to mark products embodying the Patents-in-Suit.



                                 NINTH AFFIRMATIVE DEFENSE
           50.       Samsung has not engaged in any conduct that constitutes willful infringement

    or that would otherwise entitle Plaintiffs to an award of enhanced damages under 35 U.S.C. §

    284.

                                 TENTH AFFIRMATIVE DEFENSE
           51.       Plaintiffs’ claim for damages, if any, is limited by 35 U.S.C. 271(g) and 35

    U.S.C. 287(b).



                                       PRAYER FOR RELIEF
           52.       WHEREFORE, Samsung prays for the following judgment and relief:

           A.        That judgment be entered in its favor;

           B.        That Plaintiffs take nothing by their claims and that such claims be dismissed

    with prejudice;




                                                   41
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 43 of 72 PageID #: 1681




            C.         That judgment be entered finding that Samsung has not infringed and does not

    infringe, either directly or indirectly, any valid and enforceable claim of the Patents-in-Suit,

    either literally or under the doctrine of equivalents;

            D.         That an order be entered enjoining Plaintiffs and their officers, agents, servants,

    employees, attorneys, and those in concert or participation with them from asserting

    infringement or instituting or continuing any action for infringement of the Patents-in-Suit

    against Samsung or the suppliers, manufacturers, distributors, resellers, customers, or end users

    of its products;

            E.         That pursuant to 35 U.S.C. § 285, Plaintiffs’ conduct in commencing and

    pursuing this action be found to render this an exceptional case and that Samsung be awarded

    attorneys’ fees in connection with this action; and

            F.         That Samsung be granted any such other and additional equitable and/or legal

    relief as the Court deems just and equitable.



                                    SAMSUNG’S COUNTERCLAIMS
            Pursuant to Federal Rule of Civil Procedure 13, Samsung Electronics Co., Ltd. and
    Samsung Electronics America, Inc. (collectively, “Counterclaim-Plaintiffs”) bring the
    counterclaims that follow regarding non-infringement, invalidity, and to address a betrayal of
    trust by former executives and senior attorneys whom Samsung relied upon to direct patent
    licensing and litigation on its behalf and with whom Samsung shared its highly sensitive
    confidential information and strategies regarding these issues. These former Samsung lawyers
    have now switched sides and are leveraging Samsung’s own confidential information and
    strategies against Samsung as a tool for seeking to extract undue patent licensing payments in
    connection with patents asserted by Techiya. Techiya has participated in and induced this
    misconduct by retaining Seung-Ho Ahn’s and Sungil Cho’s services to act against their former
    employer and client Samsung, and awarding an ownership stake in the patents-in-suit to at least




                                                       42
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 44 of 72 PageID #: 1682




    Synergy in return for assistance in a scheme to extort Samsung using its own highly sensitive
    information and strategies.
                                           THE PARTIES
           1.      Samsung Electronics Corporation, Ltd. (“SEC”) is based in South Korea. SEC
    designs and manufactures a wide variety of products, including cellular mobile devices.
           2.      Samsung Electronics America, Inc. (“SEA”) is a New York corporation with its
    principal place of business at 85 Challenger Road, Ridgefield Park, New Jersey 07660.
           3.      On information and belief, Defendant Staton Techiya (“Techiya”) is a Delaware

    limited liability company having a place of business at 9501 Jagged Creek Ct., Delray Beach,

    FL, 33446.

           4.      On information and belief, Defendant Synergy IP (“Synergy”) is a corporation

    of the Republic of Korea having a principal place of business at 5th floor, 54-1 Maeheon-ro,

    Seocho-gu, Seoul 06770, Republic of Korea.

           5.      Seung-Ho Ahn (“Ahn”) is a natural person, believed to reside in Seoul, Korea.

    Ahn is admitted to the California State Bar.

           6.      Sungil Cho (“Cho”) is a natural person, believed to reside in Seoul, Korea. Cho

    is admitted to the New York State Bar.

                                  JURISDICTION AND VENUE
           7.      This Court has exclusive subject matter jurisdiction over this action pursuant to
    federal question jurisdiction, 28 U.S.C. §§ 1331 and 1338(a), the Declaratory Judgment Act,
    28 U.S.C. §§ 2201–2202, and the Patent Laws of the United States, 35 U.S.C. § 1 et seq. This
    Court also has supplemental jurisdiction over the asserted state law claims pursuant to 28
    U.S.C. § 1367(a) because the federal and state law claims derive from a common nucleus of
    operative facts and pursuant to 28 U.S.C. § 1332 because there is diversity of citizenship among
    the parties and the amount in controversy exceeds $75,000.
           8.      An actual and justiciable controversy exists between Samsung, Techiya, and
    Synergy.




                                                   43
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 45 of 72 PageID #: 1683




           9.      This Court has subject matter jurisdiction over this action based on a real and
    immediate controversy between Samsung, Techiya, and Synergy.
           10.     This Court has personal jurisdiction over Techiya, Synergy, Ahn, and Cho
    (collectively, “Counterclaim-Defendants”). The Court has personal jurisdiction over Techiya
    and Synergy, inter alia, because Techiya and Synergy have submitted to the personal
    jurisdiction of this Court by filing the Complaint. At least Ahn is subject to personal
    jurisdiction for the same reason because, as discussed below, Synergy is an alter ego of Ahn.
    The Court also has personal jurisdiction over all Counterclaim-Defendants because they have
    sufficient minimum contacts with the Eastern District of Texas in connection with the subject
    matter of this dispute. Ahn and Cho obtained access to the confidential information at issue,
    at least in part, in connection with their representation of and work with Samsung’s United
    States entity that has facilities in this District, including travel to the United States and travel
    by Ahn to this District. Additionally, Counterclaim-Defendants’ misconduct at issue has
    purposefully targeted and sought to extract undue payments from business activities of
    Samsung conducted in this District relating to Samsung’s Galaxy S smartphone products and
    Galaxy Bud audio products.            Counterclaim-Defendants’ misconduct has also been
    accompanied by further acts in this District, including filing a patent infringement lawsuit
    against Samsung in connection with their attempts to extract undue patent licensing payments
    from Samsung.      The claims raised by Samsung arise out of or relate to the acts that
    Counterclaim-Defendants purposefully directed at and conducted in the United States and this
    District, including acts in furtherance of the misconduct at issue.
           11.     Venue is proper in this District as to these Counterclaims pursuant to 28 U.S.C.
    §§ 1391(b)-(c) and 1400(b). Techiya and Synergy have submitted to the venue of this Court
    by filing their Complaint here. Techiya and Synergy reside in this District because they are
    entities with the capacity to sue and be sued, who are subject to personal jurisdiction in this
    District. Ahn and Cho are not resident in the United States and are subject to venue in any
    District. However, Counterclaim-Plaintiffs reserve the right to move to transfer venue in the
    underlying action to a more convenient judicial district irrespective of the allegations in these
    Counterclaims.



                                                    44
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 46 of 72 PageID #: 1684




                                    FACTUAL BACKGROUND
           12.     This is an action for invalidity and non-infringement of the Patents-in-Suit as

    set forth in the below counterclaims.

           13.     This is also an action for trade secret misappropriation in violation of the Defend

    Trade Secrets Act, 18 U.S.C. § 1836, et seq., breach of fiduciary duty, aiding and abetting

    breach of fiduciary duty, and civil conspiracy.

           14.     Defendant Ahn served as an Executive Vice President and high-ranking in-

    house attorney at Samsung, with responsibilities that included overseeing all patent licensing

    and patent litigation. From 2010 until July 2019, Ahn served as the head of Samsung’s IP

    Center and                                                                                       .




                                    . In connection with his role as an executive and attorney of

    Samsung, Ahn was privy to a wide range of highly sensitive proprietary and confidential

    information of Samsung relating to




                                                                          .

           15.     Defendant Cho served as a

                                                          , and in-house attorney at Samsung with



                            . In connection with his role as a manager and attorney of Samsung,

    Cho was likewise privy to a significant amount of highly sensitive proprietary and confidential




                                                   45
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 47 of 72 PageID #: 1685




    information of Samsung relating




                                                                          .

              16.       The information noted above to which Ahn and Cho were privy is subject to

    extensive, and at a minimum reasonable, measures to maintain secrecy. For example,




                                                                                                     .

    Further, when                                            is produced under litigation obligations,

    this is done under strict protective order provisions that protect the information in question,

    including for example, by prohibiting access by Samsung’s adversaries in litigation (except for

    their outside litigation counsel).

              17.       This information derives independent economic value, including substantial

    commercial significance to Samsung, from not being generally known or ascertainable by

    others.




                    .

              18.       In addition to confidentiality measures imposed by Samsung, Ahn and Cho are

    subject to ethical obligations of confidentiality by virtue of having served as attorneys for

    Samsung. For example, Ahn is a member of the California State Bar. Under the rules

    governing California attorneys, Ahn is obligated to “maintain inviolate the confidence, and at



                                                     46
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 48 of 72 PageID #: 1686




    every peril to himself or herself to preserve the secrets, of his or her client.” See California

    Business and Professions Code, Section 6068(e)(1); see also California Rules of Professional

    Conduct, Rule 1.8.2 (“A lawyer shall not use a client’s information protected by Business and

    Professions Code section 6068, subdivision (e)(1) to the disadvantage of the client.”). Cho is

    a member of the New York State Bar. Under the rules governing New York attorneys, Cho

    “shall not knowingly reveal confidential information, as defined in this Rule, or use such

    information to the disadvantage of a client or for the advantage of the lawyer or a third person.”

    See New York Rules of Professional Conduct, Rule 1.6. These rules apply to Ahn and Cho as

    in-house lawyers to Samsung.

           19.     In connection with his responsibilities at Samsung, Ahn was involved in work

    on behalf of Samsung relating to

                                                                              . As the senior lawyer

    responsible for Samsung’s patent licensing and litigation,



                                       . Cho was likewise involved in work on behalf of Samsung

    relating to

                                        . Both Ahn and Cho were aware of



                                                         .



                  . The confidential information to which Ahn and Cho were privy includes

    information learned in connection with these responsibilities.

           20.     In 2019 after announcing his retirement from Samsung, Ahn began plotting to

    build a second career in licensing patents to Samsung, including by switching sides in the patent

    negotiations in which he previously represented Samsung. Upon information and belief, Ahn



                                                   47
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 49 of 72 PageID #: 1687




    sought to attract clients by promoting his inside knowledge of Samsung’s IP Center, and using

    Samsung’s confidential and privileged information against it for his own personal gain. Ahn’s

    preparations for this second career as a Samsung adversary began even while he was still

    employed by Samsung. For example, prior to leaving Samsung, on or around January 21, 2019,




                                    . As another example, prior to leaving Samsung, on or around

    July 11, 2019, Ahn formed an IP licensing and enforcement company, GcoA Corporation.

           21.      Shortly after leaving Samsung, Ahn formed Synergy to conduct his business.

    Synergy is an undercapitalized shell company that serves as the alter ego of Ahn for his new

    licensing business.    Public records show Synergy’s sole business is patent licensing,

    counseling, and prosecution and that Ahn formed, owns, and controls Synergy. Upon

    information and belief, including public records, Synergy is insufficiently capitalized to

    conduct legitimate business activities and to satisfy liabilities. In 2020, Cho left Samsung to

    join Ahn at Synergy.

           22.     In November 2020, Samsung received a letter from Ahn at Synergy purporting

    to represent




                     .         subsequently asserted patent infringement against Samsung in a

    currently pending litigation.

           23.




                                                  48
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 50 of 72 PageID #: 1688




                                                                                                    .

    Now, again, Ahn and Cho sought to switch sides and assist Techiya against Samsung.

            24.     Ahn and Cho now seek to be adverse to their former client based on an

    “ownership” interest from Techiya in the patents-in-suit. Upon information and belief, the

    value of Ahn’s and Cho’s knowledge of Samsung trade secrets is so material to the patent

    monetization activities of Techiya, that Techiya was willing to grant an ownership stake in the

    patents to Synergy in return for this illicit contribution—a step that Techiya apparently did not

    take with the other agents who previously sought to assist it in monetizing the patents. Synergy,

    Ahn, and Cho are now coordinating with Techiya regarding strategy for extracting patent

    licensing payments from Samsung, including through this lawsuit. Synergy has joined Techiya

    as a co-plaintiff in this case.

            25.     Upon information and belief, Ahn and Cho are leveraging the confidential

    information of Samsung, including the information noted above, in order to pursue their goal

    of extracting undue patent licensing payments from Samsung. This includes, for example,




                                                         . For example, based on their knowledge

    of Samsung’s own highly confidential information, Ahn and Cho are now in a position to force

    Samsung to negotiate against an entity that has inside information highly relevant to the

    negotiation. This is information that no negotiating party would ever divulge to the party with

    whom it is negotiating. Yet, because Ahn and Cho know this information, Techiya is in a better

    position to negotiate against Samsung than it otherwise would be.

            26.     This conduct of Ahn and Cho noted above is being conducted, at least in part,

    through the shell company Synergy. Further, Techiya is participating in, enabling, and



                                                   49
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 51 of 72 PageID #: 1689




    inducing this conduct by, upon information and belief, coordinating with Synergy, Ahn, and

    Cho regarding the conduct in question, providing at least Synergy with an ownership stake in

    the Techiya patents-in-suit in return for this conduct, and involving itself in the efforts at issue

    to extract undue patent licensing payments from Samsung, despite knowledge of Ahn’s and

    Cho’s previous roles at Samsung and their involvement with Samsung confidential information

    that would accompany these roles. Indeed, upon information and belief, it is the desire to

    improperly leverage Samsung’s own confidential information against it that led Techiya to

    partner with Synergy, Ahn, and Cho and to award at least Synergy an ownership stake in the

    patents-in-suit.

            27.        The conduct of Ahn, Cho, Synergy, and Techiya described above has harmed

    Samsung by having its own confidential information used against it, including for example,

    upon information and belief, depriving Samsung of the ability to resolve this dispute on more

    reasonable terms that would otherwise have been available if not for the conduct in question.

    This conduct has also unjustly enriched Ahn, Cho, Synergy, and Techiya, including for

    example, via the value of the commercial relationship that was formed, upon information and

    belief, on the basis of a desire to leverage Samsung’s confidential information against it and

    through any further value obtained through such conduct.

                                                  COUNT I
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,111,839)

            28.        Samsung incorporates by reference the allegations in Paragraphs 1 through 27

    above as though fully set forth herein.

            29.        As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’839 Patent.




                                                      50
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 52 of 72 PageID #: 1690




           30.       Techiya and Synergy have asserted that Samsung Galaxy S20, Samsung Galaxy

    Buds Pro, and Samsung Galaxy Buds+ directly and/or indirectly, either literally or under the

    doctrine of equivalents, infringe the ’839 Patent.

           31.       Samsung’s Galaxy S20, Samsung Galaxy Buds Pro, and Samsung Galaxy

    Buds+ have not infringed and do not infringe, either directly or indirectly, any valid and

    enforceable claim of the ’839 Patent; it is not the case that each and every limitation of the

    claims of the ’839 Patent are present directly and/or indirectly, either literally or under the

    doctrine of equivalents, in the Samsung Galaxy S20, Samsung Galaxy Buds Pro, and Samsung

    Galaxy Buds+.

           32.       Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’839 Patent.

                                               COUNT II
                   (Declaratory Judgment of Invalidity of U.S. Patent No. 8,111,839)

           33.       Samsung incorporates by reference the allegations in Paragraphs 1 through 32
    above as though fully set forth herein.
           34.       As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’839 Patent.
           35.       The ’839 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           36.       Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 4 through 7 of Samsung’s Second Affirmative Defense regarding invalidity of the
    ’839 Patent.
           37.       Samsung is entitled to a judgment from this Court that the claims of the ’839
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.




                                                    51
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 53 of 72 PageID #: 1691




                                               COUNT III
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,254,591)

           38.     Samsung incorporates by reference the allegations in Paragraphs 1 through 37

    above as though fully set forth herein.

           39.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’591 Patent.

           40.     Techiya and Synergy have asserted that Samsung Galaxy Buds Pro directly

    and/or indirectly, either literally or under the doctrine of equivalents, infringes the ’591 Patent.

           41.     Samsung’s Galaxy Buds Pro has not infringed and does not infringe, either

    directly or indirectly, any valid and enforceable claim of the ’591 Patent; it is not the case that

    each and every limitation of the claims of the ’591 Patent are present directly and/or indirectly,

    either literally or under the doctrine of equivalents, in the Samsung Galaxy Buds Pro.

           42.     Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’591 Patent.

                                               COUNT IV
                 (Declaratory Judgment of Invalidity of U.S. Patent No. 8,254,591)

           43.     Samsung incorporates by reference the allegations in Paragraphs 1 through 42

    above as though fully set forth herein.

           44.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’591 Patent.
           45.     The ’591 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.




                                                    52
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 54 of 72 PageID #: 1692




           46.       Samsung incorporates by reference herein the allegations stated above in

    Paragraphs 8 through 11 of Samsung’s Second Affirmative Defense regarding invalidity of the

    ’591 Patent.

           47.       Samsung is entitled to a judgment from this Court that the claims of the ’591
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                               COUNT V
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 8,315,400)

           48.       Samsung incorporates by reference the allegations in Paragraphs 1 through 47

    above as though fully set forth herein.

           49.       As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’400 Patent.

           50.       Techiya and Synergy have asserted that Samsung Galaxy Buds directly and/or

    indirectly, either literally or under the doctrine of equivalents, infringes the ’400 Patent.

           51.       Samsung’s Galaxy Buds has not infringed and does not infringe, either directly

    or indirectly, any valid and enforceable claim of the ’400 Patent; it is not the case that each and

    every limitation of the claims of the ’400 Patent are present directly and/or indirectly, either

    literally or under the doctrine of equivalents, in the Samsung Galaxy Buds.

           52.       Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’400 Patent.

                                               COUNT VI
                   (Declaratory Judgment of Invalidity of U.S. Patent No. 8,315,400)

           53.       Samsung incorporates by reference the allegations in Paragraphs 1 through 52

    above as though fully set forth herein.




                                                    53
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 55 of 72 PageID #: 1693




           54.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’400 Patent.
           55.     The ’400 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           56.     Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 12 through 15 of Samsung’s Second Affirmative Defense regarding invalidity of
    the ’400 Patent.
           57.     Samsung is entitled to a judgment from this Court that the claims of the ’400
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT VII
           (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,124,982)

           58.     Samsung incorporates by reference the allegations in Paragraphs 1 through 57

    above as though fully set forth herein.

           59.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’982 Patent.

           60.     Techiya and Synergy have asserted that Bixby-enabled Samsung Galaxy

    smartphones directly and/or indirectly, either literally or under the doctrine of equivalents,

    infringes the ’982 Patent.

           61.     Bixby-enabled Samsung Galaxy smartphones have not infringed and do not

    infringe, either directly or indirectly, any valid and enforceable claim of the ’982 Patent; it is

    not the case that each and every limitation of the claims of the ’982 Patent are present directly

    and/or indirectly, either literally or under the doctrine of equivalents, in the Bixby-enabled

    Samsung Galaxy smartphones.




                                                   54
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 56 of 72 PageID #: 1694




           62.     Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’982 Patent.

                                              COUNT VIII
                 (Declaratory Judgment of Invalidity of U.S. Patent No. 9,124,982)

           63.     Samsung incorporates by reference the allegations in Paragraphs 1 through 62

    above as though fully set forth herein.

           64.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’982 Patent.
           65.     The ’982 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           66.     Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 16 through 19 of Samsung’s Second Affirmative Defense regarding invalidity of
    the ’982 Patent.
           67.     Samsung is entitled to a judgment from this Court that the claims of the ’982
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                               COUNT IX
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,270,244)

           68.     Samsung incorporates by reference the allegations in Paragraphs 1 through 67

    above as though fully set forth herein.

           69.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’244 Patent.

           70.     Techiya and Synergy have asserted that Samsung Galaxy Buds Pro directly

    and/or indirectly, either literally or under the doctrine of equivalents, infringes the ’244 Patent.




                                                    55
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 57 of 72 PageID #: 1695




           71.     Samsung’s Galaxy Buds Pro has not infringed and does not infringe, either

    directly or indirectly, any valid and enforceable claim of the ’244 Patent; it is not the case that

    each and every limitation of the claims of the ’244 Patent are present directly and/or indirectly,

    either literally or under the doctrine of equivalents, in the Galaxy Buds Pro.

           72.     Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’244 Patent.

                                               COUNT X
                 (Declaratory Judgment of Invalidity of U.S. Patent No. 9,270,244)

           73.     Samsung incorporates by reference the allegations in Paragraphs 1 through 72

    above as though fully set forth herein.

           74.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’244 Patent.
           75.     The ’244 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           76.     Samsung incorporates by reference herein the allegations stated above in

    Paragraphs 20 through 23 of Samsung’s Second Affirmative Defense regarding invalidity of

    the ’244 Patent.

           77.     Samsung is entitled to a judgment from this Court that the claims of the ’244
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT XI
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,491,542)

           78.     Samsung incorporates by reference the allegations in Paragraphs 1 through 77

    above as though fully set forth herein.




                                                    56
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 58 of 72 PageID #: 1696




           79.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’542 Patent.

           80.     Techiya and Synergy have asserted that Samsung Galaxy Buds Pro directly

    and/or indirectly, either literally or under the doctrine of equivalents, infringes the ’542 Patent.

           81.     Samsung’s Galaxy Buds Pro has not infringed and does not infringe, either

    directly or indirectly, any valid and enforceable claim of the ’542 Patent; it is not the case that

    each and every limitation of the claims of the ’542 Patent are present directly and/or indirectly,

    either literally or under the doctrine of equivalents, in the Galaxy Buds Pro.

           82.     Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’542 Patent.

                                              COUNT XII
                 (Declaratory Judgment of Invalidity of U.S. Patent No. 9,491,542)

           83.     Samsung incorporates by reference the allegations in Paragraphs 1 through 82

    above as though fully set forth herein.

           84.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’542 Patent.
           85.     The ’542 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           86.      Samsung incorporates by reference herein the allegations stated above in

    Paragraphs 24 through 27 of Samsung’s Second Affirmative Defense regarding invalidity of

    the ’542 Patent.

           87.     Samsung is entitled to a judgment from this Court that the claims of the ’542
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.




                                                    57
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 59 of 72 PageID #: 1697




                                              COUNT XIII
            (Declaratory Judgment of Non-Infringement of U.S. Patent No. 9,609,424)

           88.     Samsung incorporates by reference the allegations in Paragraphs 1 through 87

    above as though fully set forth herein.

           89.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’424 Patent.

           90.     Techiya and Synergy have asserted that Samsung Galaxy Buds 2 directly and/or

    indirectly, either literally or under the doctrine of equivalents, infringes the ’424 Patent.

           91.     Samsung’s Galaxy Buds 2 has not infringed and does not infringe, either

    directly or indirectly, any valid and enforceable claim of the ’424 Patent; it is not the case that

    each and every limitation of the claims of the ’424 Patent are present directly and/or indirectly,

    either literally or under the doctrine of equivalents, in the Galaxy Buds 2.

           92.     Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’424 Patent.

                                              COUNT XIV
                 (Declaratory Judgment of Invalidity of U.S. Patent No. 9,609,424)

           93.     Samsung incorporates by reference the allegations in Paragraphs 1 through 92

    above as though fully set forth herein.

           94.     As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’424 Patent.
           95.     The ’424 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.




                                                    58
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 60 of 72 PageID #: 1698




           96.     Samsung incorporates by reference herein the allegations stated above in

    Paragraphs 28 through 31 of Samsung’s Second Affirmative Defense regarding invalidity of

    the ’424 Patent.

           97.     Samsung is entitled to a judgment from this Court that the claims of the ’424
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT XV
           (Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,405,082)

           98.     Samsung incorporates by reference the allegations in Paragraphs 1 through 97

    above as though fully set forth herein.

           99.     As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’082 Patent.

           100.    Techiya and Synergy have asserted that Bixby-enabled Samsung Galaxy

    smartphones directly and/or indirectly, either literally or under the doctrine of equivalents,

    infringes the ’082 Patent.

           101.    Bixby-enabled Samsung Galaxy smartphones have not infringed and do not

    infringe, either directly or indirectly, any valid and enforceable claim of the ’082 Patent; it is

    not the case that each and every limitation of the claims of the ’082 Patent are present directly

    and/or indirectly, either literally or under the doctrine of equivalents, in Bixby-enabled

    Samsung Galaxy smartphones.

           102.    Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’082 Patent.




                                                   59
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 61 of 72 PageID #: 1699




                                              COUNT XVI
               (Declaratory Judgment of Invalidity of U.S. Patent No. 10,405,082)

           103.    Samsung incorporates by reference the allegations in Paragraphs 1 through 102

    above as though fully set forth herein.

           104.    As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’082 Patent.
           105.    The ’082 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           106.    Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 32 through 35 of Samsung’s Second Affirmative Defense regarding invalidity of
    the ’082 Patent.
           107.    Samsung is entitled to a judgment from this Court that the claims of the ’082
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT XVII
           (Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,966,015)

           108.    Samsung incorporates by reference the allegations in Paragraphs 1 through 107

    above as though fully set forth herein.

           109.    As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’015 Patent.

           110.    Techiya and Synergy have asserted that Samsung Galaxy Buds, Buds+, Buds

    Pro, and the Bixby Platform directly and/or indirectly, either literally or under the doctrine of

    equivalents, infringe the ’015 Patent.

           111.    Samsung Galaxy Buds, Buds+, Buds Pro, and the Bixby Platform have not

    infringed and do not infringe, either directly or indirectly, any valid and enforceable claim of



                                                   60
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 62 of 72 PageID #: 1700




    the ’015 Patent; it is not the case that each and every limitation of the claims of the ’015 Patent

    are present directly and/or indirectly, either literally or under the doctrine of equivalents, in

    Samsung Galaxy Buds, Buds+, Buds Pro, and the Bixby Platform.

           112.    Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’015 Patent.

                                              COUNT XVIII
                (Declaratory Judgment of Invalidity of U.S. Patent No. 10,966,015)

           113.    Samsung incorporates by reference the allegations in Paragraphs 1 through 112

    above as though fully set forth herein.

           114.    As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’015 Patent.
           115.    The ’015 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           116.    Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 36 through 39 of Samsung’s Second Affirmative Defense regarding invalidity of
    the ’015 Patent.
           117.    Samsung is entitled to a judgment from this Court that the claims of the ’015
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT XIX
           (Declaratory Judgment of Non-Infringement of U.S. Patent No. 10,979,836)

           118.    Samsung incorporates by reference the allegations in Paragraphs 1 through 117

    above as though fully set forth herein.

           119.    As a result of at least the allegations contained in the Complaint, an actual and

    justiciable controversy exists between Samsung, Techiya, and Synergy concerning

    infringement of the ’836 Patent.



                                                    61
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 63 of 72 PageID #: 1701




           120.    Techiya and Synergy have asserted that Samsung Galaxy Buds 2 directly and/or

    indirectly, either literally or under the doctrine of equivalents, infringes the ’836 Patent.

           121.    Samsung’s Galaxy Buds 2 has not infringed and does not infringe, either

    directly or indirectly, any valid and enforceable claim of the ’836 Patent; it is not the case that

    each and every limitation of the claims of the ’836 Patent are present directly and/or indirectly,

    either literally or under the doctrine of equivalents, in Galaxy Buds 2.

           122.    Samsung is entitled to a judgment from this Court that it does not infringe any

    claim of the ’836 Patent.

                                              COUNT XX
                (Declaratory Judgment of Invalidity of U.S. Patent No. 10,979,836)

           123.    Samsung incorporates by reference the allegations in Paragraphs 1 through 122

    above as though fully set forth herein.

           124.    As a result of at least the allegations contained in the Complaint, an actual and
    justiciable controversy exists between Samsung, Techiya, and Synergy concerning the validity
    of the ’836 Patent.
           125.    The ’836 Patent is invalid for failure to meet the conditions of patentability
    and/or otherwise comply with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
           126.    Samsung incorporates by reference herein the allegations stated above in
    Paragraphs 40 through 43 of Samsung’s Second Affirmative Defense regarding invalidity of
    the ’836 Patent.
           127.    Samsung is entitled to a judgment from this Court that the claims of the ’836
    Patent are invalid for failure to meet the conditions of patentability and/or otherwise comply
    with one or more of 35 U.S.C. §§ 101, 102, 103, and 112.
                                              COUNT XXI
                  (Trade Secret Misappropriation Under 18 U.S.C. §1836 et seq.)
           128.    Samsung incorporates by reference the allegations in Paragraphs 1 through 127

    above as though fully set forth herein.



                                                    62
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 64 of 72 PageID #: 1702




           129.    Samsung is the owner of valuable trade secrets relating to




                                                                              . These trade secrets

    are related to Samsung’s smartphone and audio products that are used in interstate commerce

    and have substantial economic value, including by allowing Samsung to develop and market

    these products, while negotiating patent licenses covering related technologies on

    commercially acceptable terms.

           130.    By way of example, Samsung’s Galaxy S smartphone products, Galaxy Buds

    audio products, and Bixby service are marketed and sold throughout the United States.

           131.    Ahn and Cho gained access to Samsung’s trade secrets in the course of serving

    as executives and in-house counsel for Samsung, including for Samsung Electronics Co., Ltd.

    and Samsung Electronics America, Inc. This access was gained under a duty of confidentiality,

    including under contractual confidentiality agreements between Samsung and Ahn and Cho

    and their duties of confidentiality as lawyers to their client Samsung.

           132.    Ahn and Cho subsequently have, upon information and belief, begun using

    Samsung’s trade secrets against Samsung and/or have begun disclosing the trade secrets to

    Techiya in connection with Synergy acquiring an ownership stake in Techiya patents being

    asserted against Samsung and undertaking and participating in efforts to extract undue

    licensing payments from Samsung under those patents. Ahn and Cho necessarily will use their

    knowledge of Samsung’s trade secrets given their prior positions at Samsung. This conduct

    was undertaken, at least in part, via Synergy, which is the entity through which Ahn and Cho

    conduct their patent related activities. At the time that Ahn, Cho, and Synergy engaged in



                                                   63
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 65 of 72 PageID #: 1703




    misuse of Samsung’s trade secrets they were aware of the circumstances under which these

    trade secrets were obtained by Ahn and Cho and the duty of confidentiality arising from such

    circumstances.

              133.   Upon information and belief, Techiya likewise has been using Samsung’s trade

    secrets against Samsung by participating with and/or designating Synergy, Ahn, and Cho to

    engage in efforts to extract patent licensing payments from Samsung and awarding an

    ownership stake in the patents to Synergy in connection with such efforts. Techiya was aware

    of—and was presumably motivated by its knowledge of—Ahn’s and Cho’s former roles at

    Samsung and knowledge of Samsung’s trade secrets that were obtained under a duty of

    confidentiality in connection with those roles.

              134.   Ahn, Cho, Synergy, and Techiya willfully and maliciously misappropriated

    Samsung’s trade secrets via Ahn and Cho switching sides and deliberately seeking to use

    Samsung’s highly sensitive information and strategies against Samsung as a tool to extract

    undue patent licensing payments.

              135.   Samsung has taken reasonable steps to maintain the secrecy of its trade secrets,

    including by restricting access to this information, requiring personnel to sign confidentiality

    agreements, and placing this information under protective order protection when portions of it

    are produced in litigation. Samsung also relied that its attorneys would maintain its confidential

    information.

              136.   Samsung has been harmed by the trade secret misappropriation of Ahn, Cho,

    Synergy, and Techiya, and stands to suffer future harm as well. Further, Ahn, Cho, Synergy,

    and Techiya have been unjustly enriched through their misconduct, and will be further unjustly

    enriched in the future. This includes irreparable harm for which there is no adequate remedy

    at law.




                                                    64
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 66 of 72 PageID #: 1704




                                              COUNT XXII
                                     (Breach of Fiduciary Duty)
           137.    Samsung incorporates by reference the allegations in Paragraphs 1 through 136

    above as though fully set forth herein.

           138.    Ahn and Cho have a fiduciary duty to Samsung to avoid misuse and disclosure

    of Samsung’s confidential information that was shared with them while they served as

    executives and in-house counsel of Samsung. This includes serving as attorneys on behalf of

    Samsung Electronics America, Inc. and therefore having a fiduciary duty of confidentiality to

    Samsung Electronics America, Inc.

           139.    In connection with their fiduciary relationship with Samsung, Ahn and Cho

    received access to confidential information of Samsung relating to the




                                                                          . Ahn and Cho have a

    fiduciary duty to avoid misuse and disclosure of this information.

           140.    In breach of their fiduciary duty, Ahn and Cho subsequently have begun using

    Samsung’s confidential information against Samsung and/or have begun disclosing the

    confidential information to Techiya in connection with Synergy acquiring an ownership stake

    in Techiya patents that were being asserted against Samsung and undertaking and participating

    in efforts to extract undue licensing payments from Samsung under those patents. Ahn and

    Cho necessarily will use their knowledge of Samsung’s trade secrets given their prior positions

    at Samsung. At the time that Ahn and Cho engaged in misuse of Samsung’s confidential

    information, they were aware of the circumstances under which this confidential information

    was obtained and the fiduciary duty of confidentiality arising from such circumstances. Upon

    information and belief, Ahn and Cho knowingly breached their fiduciary duty to Samsung.




                                                  65
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 67 of 72 PageID #: 1705




            141.    Samsung has been harmed by the breach of fiduciary duty of Ahn and Cho, and

    stands to suffer future harm as well. This includes irreparable harm for which there is no

    adequate remedy at law.

                                              COUNT XXIII
                           (Aiding and Abetting Breach of Fiduciary Duty)
            142.    Samsung incorporates by reference the allegations in Paragraphs 1 through 141

    above as though fully set forth herein.

            143.    The breach of fiduciary duty of Ahn and Cho, discussed above, was undertaken,

    at least in part, via Synergy, which is the entity through which Ahn and Cho conduct their

    patent related activities.

            144.    Upon information and belief, Techiya participated in, encouraged, and induced

    the breach of fiduciary duty of Ahn and Cho, discussed above, by coordinating with Ahn, Cho,

    and Synergy to engage in efforts to extract patent licensing payments from Samsung, by

    leveraging Samsung’s confidential information as a tool against Samsung, and by awarding an

    ownership stake in the patents to Synergy in connection with such efforts. Techiya was aware

    of—and presumably motivated by its knowledge of—Ahn’s and Cho’s former roles at

    Samsung and knowledge of Samsung’s confidential information that was obtained under a

    fiduciary duty of confidentiality in connection with those roles.

            145.    Samsung has been harmed by the conduct of Techiya and Synergy in aiding and

    abetting a breach of fiduciary duty, and stands to suffer future harm as well. This includes

    irreparable harm for which there is no adequate remedy at law.

                                              COUNT XXIV
                                          (Civil Conspiracy)
            146.    Samsung incorporates by reference the allegations in Paragraphs 1 through 145

    above as though fully set forth herein.




                                                   66
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 68 of 72 PageID #: 1706




           147.    As set forth above, Ahn and Cho engaged in a breach of fiduciary duty by using

    Samsung’s confidential information against Samsung and/or disclosing the confidential

    information to Techiya in connection with Synergy acquiring an ownership stake in Techiya

    patents being asserted against Samsung and undertaking and participating in efforts to extract

    undue licensing payments from Samsung under those patents. As set forth above, Techiya and

    Synergy engaged in aiding and abetting this breach of fiduciary duty, by coordinating with Ahn

    and Cho to engage in efforts to extract patent licensing payments from Samsung, by leveraging

    Samsung’s confidential information as an illegitimate tool for establishing the price to demand

    from Samsung, and by awarding an ownership stake in the patents to at least Synergy in

    connection with such efforts.

           148.    Upon information and belief, the conduct noted above was undertaken pursuant

    to an agreement between Techiya, Synergy, Ahn, and Cho. For example, upon information

    and belief, Techiya reached an agreement with Synergy, Ahn, and Cho to provide Synergy an

    ownership stake in the Techiya patents-in-suit in return for coordinating to extract undue patent

    licensing payments from Samsung by leveraging Samsung’s confidential information. Upon

    information and belief, overt acts were taken in furtherance of this agreement, including for

    example, as shown by the filing of the present lawsuit to exert pressure on Samsung. This

    conduct involved intentional participation by Techiya, Synergy, Ahn, and Cho in their scheme

    to extract undue patent licensing payments from Samsung by leveraging Samsung’s

    confidential information.

           149.    Samsung has been harmed by the conduct of Techiya, Synergy, Ahn, and Cho

    in conspiring to undertake the acts noted above, and stands to suffer future harm as well. This

    includes irreparable harm for which there is no adequate remedy at law.




                                                   67
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 69 of 72 PageID #: 1707




                  PRAYER FOR RELIEF ON SAMSUNG’S COUNTERCLAIMS
           150.    WHEREFORE, Samsung respectfully requests that the Court enter judgment on

    Samsung’s Counterclaims as follows:

           A.      That Samsung has not infringed, directly or indirectly, any claim the Patents-in-

    Suit

           B.      That the claims of the Patents-in-Suit are invalid for failure to comply with the

    requirements of Title 35, United States Code, including at least §§ 101, 102, 103, and/or 112;

           C.      That Samsung is the prevailing party and that this case is an exceptional case

    under 35 U.S.C. § 285, and awarding Samsung its costs, expenses, and reasonable attorneys’

    fees under 35 U.S.C. § 285 and all other applicable statutes, rules, and common law, including

    this Court’s inherent authority;

           D.      That all of Plaintiffs’ claims against Samsung are dismissed with prejudice and

    Plaintiffs’ request for damages and injunctive relief are denied;

           E.      That Techiya, Synergy, Ahn, and Cho misappropriated trade secrets of Samsung

    under 18 U.S.C. §1836 et seq.;

           F.      That Ahn and Cho breached their fiduciary duty to Samsung;

           G.      That Techiya and Synergy aided and abetted Ahn’s and Cho’s breach of

    fiduciary duty to Samsung;

           H.      That Techiya, Synergy, Ahn, and Cho engaged in a civil conspiracy regarding

    Ahn’s and Cho’s breach of fiduciary duty to Samsung;

           I.      Awarding to Samsung of compensatory damages from Techiya, Synergy, Ahn,

    and Cho, in an amount to be determined at trial;

           J.      Awarding to Samsung of disgorgement of the unjust enrichment of Techiya,

    Synergy, Ahn, and Cho, in an amount to be determined at trial;




                                                   68
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 70 of 72 PageID #: 1708




           K.      Awarding to Samsung punitive damages, in an amount to be determined at trial,

    including pursuant to 18 U.S.C. §1836 et seq.;

           L.      Enjoining Techiya, Synergy, Ahn, and Cho from further misappropriation of

    Samsung’s trade secrets and conduct regarding breach of Ahn’s and Cho’s fiduciary duty; and

           M.      For any such other and further equitable and/or legal relief as the Court deems

    just and equitable.




                                                 69
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 71 of 72 PageID #: 1709




     DATED: February 10, 2022                Respectfully submitted,
                                             KIRKLAND & ELLIS LLP

                                             /s/Melissa R. Smith
                                             Melissa R. Smith
                                             State Bar No. 24001351
                                             GILLAM & SMITH, LLP
                                             303 South Washington Avenue
                                             Marshall, Texas 75670
                                             Telephone: (903) 934-8450
                                             Facsimile: (903) 934-9257
                                             Email: melissa@gillamsmithlaw.com

                                             Gregory S. Arovas (pro hac vice)
                                             Todd M. Friedman (pro hac vice)
                                             Alex R. Henriques (pro hac vice)
                                             KIRKLAND & ELLIS LLP
                                             601 Lexington Avenue
                                             New York, NY 10022
                                             Telephone: (212) 446-4800
                                             Facsimile: (212) 446-4900
                                             Email: greg.arovas@kirkland.com
                                             Email: todd.friedman@kirkland.com
                                             Email: alex.henriques@kirkland.com

                                             David Rokach (pro hac vice)
                                             KIRKLAND & ELLIS LLP
                                             300 North LaSalle
                                             Chicago, IL 60654
                                             Telephone: (312) 862-2000
                                             Facsimile: (312) 862-2200
                                             Email: david.rokach@kirkland.com

                                             Attorneys for Defendants Samsung
                                             Electronics Co., Ltd. and Samsung
                                             Electronics America, Inc.




                                        70
Case 2:21-cv-00413-JRG-RSP Document 28 Filed 02/13/22 Page 72 of 72 PageID #: 1710




                                      CERTIFICATE OF SERVICE

           I certify that on February 10, 2022, I electronically filed the foregoing with the Clerk

    of the Court using the CM/ECF system which will send notification of such filing to all

    counsel of record.

                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith



                   CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL


           I certify that a motion to seal this document is being filed contemporaneously

    pursuant to Local Rules CV-5(a)(7) and CV-7(k).



                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith




                                                  71
